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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

Robert Garrasi,
Plaintiff,
vs.
Wells Fargo Bank, N.A.;
Selene Finance, LP;

Wilmington Savings Fund Society, FSB;

Wilmington Savings Fund Society, FSB, DBA
Christiana Trust, Not In Its Individual Capacity, But
Solely As Trustee For BCAT 2015-13ATT;

BCAT 2015-13ATT;

Mortgage Electronic Registration Systems, Inc.;
Knuckles, Komosinski & Manfro, LLP;

Richard F. Komosinski, Esq., and

Stuart L. Kossar, Esq.,

Defendants.

U.S. DISTRICT COURT - N.D. OF N.Y.

FEB 2.2 2021

AT O'CLOCK
John M. Domurad, Clerk - Albany

COMPLAINT FOR
CIVIL RACKETEERING
18 U.S.C. §1961 et seq &
NEW YORK JUDICIARY LAW
§ 487 FRAUD

JURY TRIAL DEMANDED
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(easy 7)
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PRELIMINARY STATEMENT

Plaintiff institutes this action for actual damages, statutory damages,
attorney’s fees, punitive damages, and the costs of this action against Defendants
Wells Fargo Bank, N.A.; Selene Finance, LP; Wilmington Savings Fund Society, FSB;
Wilmington Savings Fund Society, FSB, Doing Business As Christiana Trust, Not In
Its Individual Capacity, But Solely As Trustee For BCAT 2015-13ATT; Mortgage
Electronic Registration Systems, Inc.; Knuckles, Komosinski & Manfro, LLP; Richard
Komosinski, Esq.; and Stuart Kossar, Esq., for violations of the Racketeer Influenced
and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq., (“RICO”). Plaintiff institutes
this action against Richard Komosinski and Stuart Kossar for violations of New

York Judiciary Law § 487.

JURISDICTION

1. This Court has jurisdiction for the First Count pursuant to RICO, 18 U.S.C. §

1964(a) & (c), 28 U.S.C. § 1331, and 28 U.S.C. § 1337.

2. This Court has supplemental jurisdiction over the state law claims pursuant

to 28 U.S.C. § 1367.
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THE PARTIES

Plaintiff Robert Garrasi (“GARRASI” or “PLAINTIFF”) is an individual natural
person residing in the Town of Clifton Park, Saratoga County, State of New

York.

Defendant Wells Fargo Bank, N.A. (“WELLS FARGO”) is a national banking

association formed under the laws of the United States.

Defendant Selene Finance, LP (“SELENE”) is a Delaware limited partnership,
headquartered in the State of Texas, and authorized to do business in the

State of New York. SELENE is a mortgage loan servicer.

Defendant Wilmington Savings Fund Society, FSB (“WILMINGTON”) is a
federal savings bank formed under the laws of the United States with its

corporate headquarters located in the State of Delaware.

Defendant Wilmington Savings Fund Society, FSB, Doing Business As
Christiana Trust, Not In Its Individual Capacity, But Solely As Trustee For
BCAT 2015-13ATT (“TRUSTEE”), purports to be a trustee for BCAT 2015-

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Defendant BCAT 2015-13ATT (“BCAT”) purports to be a Delaware Statutory

trust. !

BCAT 2015-13ATT, claims that its offices are located at 500 Delaware Avenue,

11th Floor, Wilmington, Delaware 19801.

As a Delaware statutory trust, BCAT 2015-13ATT was required in 2015 to file

its trust agreement and register with the Delaware Secretary of State.

The Delaware Secretary of State’s website has no record of BCAT 2015-

13ATT’s existence as a Delaware statutory trust.

Defendant Knuckles, Komosinski & Manfro, LLP (“KKM”), is a New York law
firm located in Elmsford, New York, and operating as a New York limited

liability partnership.
KKM specializes in mortgage foreclosure actions.

Defendant Richard Komosinski (“KOMOSINSKI”) is an individual, an attorney
licensed to practice law in the State of New York, a resident of the State of

New York, and one of the managing partners in KKM.

' A Delaware Statutory trust is a business trust, and as a business trust BCAT 2015-

13ATT is required to comply with the provisions of New York’s General Associations Law in
order for the trust to maintain an action in New York State. One of those provisions is that a
business trust register with the Secretary of State and pay all current or past due financial
obligations to New York. BCAT 2015-13ATT has never complied with any of the provisions of
New York General Associations Law.
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Defendant Stuart Kossar (“KOSSAR”) is an individual, an attorney licensed to
practice law in the State of New York, a former employee of KKM, and a

resident of the State of New York.

Defendant Mortgage Electronic Registration Systems, Inc. (“MERS”) is a
nationwide electronic mortgage registry company, is a Delaware corporation
authorized to do business in the State of New York, and is headquartered in

Reston, Virginia.

At all times relevant herein, the Defendants were each a legal organization,
entity, or natural person that engaged in activities that affect interstate

commerce.

At all times relevant herein, the Defendants are “persons” as defined under

RICO in 18 U.S.C. § 1961 (3).

At all times relevant herein, the Defendants acting individually or in concert

constituted an “Enterprise” as defined under RICO in 18 U.S.C. § 1961 (4).

At all times relevant herein, the Defendants were and are engaged ina

“pattern of racketeering activity” as defined in 18 U.S.C. § 1962 (c).

At all times relevant herein, the Defendants conspired to violate the
provisions of 18 U.S.C. § 1962 (b) & (c), and thereby violated the provisions -

of 18 U.S.C. 1962 (d).
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COUNT 1
CIVIL RACKETEERING AGAINST ALL DEFENDANTS

— FACTUAL ALLEGATIONS —
WELLS FARGO ”

22. PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

23. The RICO Enterprise, existing separate from the Defendants herein, consists
of a fraudulent foreclosure action designed to illegally deprive the
foreclosure defendants of their real property by means of a scheme and

artifice to defraud, as will be described in factural detail herein.

24. The Defendants’ RICO enterprise was an Association-In-Fact enterprise as
defined in Boyle v. United States, 556 U.S. 938 (2009), relying largely on United

States v. Turkette, 452 U. S. 576, 583 (1981).

25. WELLS FARGO’s role in the Enterprise was to fraudulently claim that the
Zebrowski Note and Mortgage were owned by WELLS FARGO, allegedly

having been negotiated to WELLS FARGO on or about July 9, 2012 by MERS

2 Defendant WELLS FARGO is presently under a 3 year criminal Deferred Prosecution
Agreement with the U.S. Department of Justice, agreeing to pay to the DOJ and the SEC $3
billion for the creation of millions of false and fraudulent customer documents and accounts
during the period 2002-2016. WELLS FARGO and the government entered into the DPA on
February 20, 2020. See https://www.cnn.com/2020/02/2 1/business/wells-fargo-settlement-doj-
sec/index.html.
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acting on behalf of the original Zebrowski mortgagee SunTrust Mortgage,

Inc. (“SunTrust”).

The Zebrowski mortgage loan was in the amount of $312,000 and was
executed by the mortgagors on August 16, 2005, and was recorded in the
Saratoga County Clerk’s office on August 29, 2005, Book 326, Page 3919,

Instrument No. 200606867.

At the same time that the Zebrowskis executed the above mortgage, they
also executed a promissory note payable to SunTrust. EXHIBIT A annexed

herewith.

The original Zebrowski note executed on August 16, 2005 in favor of

SunTrust will now be referenced herein as Zebrowski Note # 1.

On or about November 2, 2005, SunTrust sold the mortgage loan and
mortgage to the Federal Home Loan Mortgage Association (“Freddie Mac” or

“Freddie”). EXHIBIT B annexed herewith.

On June 29, 2012, the Zebrowskis filed a federal bankruptcy petition in the

Northern District of New York, Case No. 12-11799-1.

WELLS FARGO and MERS, using the U.S. mails and/or wire services, filed a
fraudulent ZEBROWSKI mortgage assignment in the Saratoga County Clerk’s

office on July 12, 2012. EXHIBIT C annexed herewith.
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The assignment purported to transfer to WELLS FARGO both the Zebrowski
mortgage and all of MERS’ beneficial interest in the mortgage for good and

valuable consideration received.

This fraudulent assignment of the Zebrowski mortgage allowed WELLS
FARGO to claim falsely that it was a Zebrowski mortgage loan creditor in

the Zebrowski bankruptcy case.

On or about October 31, 2012 WELLS FARGO in Minnesota, using the mails
and/or wire services, filed a false and fraudulent proof of claim in the
Zebrowski bankruptcy case that was pending in the NDNY. EXHIBIT D

annexed herewith.

In that proof of claim, WELLS FARGO falsely and fraudulently identified itself

as the Zebrowski mortgage loan “Creditor.”

The bankruptcy code’s definition of “Creditor” is found in EXHIBIT E

annexed herewith.

WELLS FARGO and MERS (the purported nominee for SunTrust), using the
U.S. mails and wire services, falsely and fraudulently represented to the U.S.
Bankruptcy Court that MERS had lawfully assigned the Zebrowski mortgage

and note to WELLS FARGO. EXHIBIT F annexed herewith.

In point of fact, and at all times relevant herein, neither MERS nor WELLS

FARGO ever had any beneficial interest in the Zebrowski mortgage, nor did
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MERS or SunTrust ever receive any consideration from WELLS FARGO for the

purported mortgage assignment.

Filing a false proof of claim in a bankruptcy case is a violation of 18 U.S.C. §

152, and is a RICO predicate act.

Filing a false proof of claim in a bankruptcy case via the U.S. mails is a
violation of 18 U.S.C. § 1341, and doing so using internet or fax wire services

to file such a claim is a violation of 18 U.S.C. § 1343.

A copy of the Zebrowski mortgage note indorsed in blank by SunTrust and
thereafter filed in the WELLS FARGO proof of claim in the Zebrowski
bankruptcy case, is annexed hereto as EXHIBIT G. This note is referenced

herein as Zebrowski Note # 2.

When WILMINGTON and TRUSTEE, acting in concert and conspiratorially,
filed the state foreclosure action against the Zebrowskis on April 12, 2016,
using the U.S. mails and/or wire services, WILMINGTON and TRUSTEE

included as an exhibit to the Complaint a copy of the Zebrowski Note.

But when the foreclosure Complaint was filed, the Zebrowski note now
showed a forged specific indorsement from SunTrust to WELLS FARGO. This

note is referenced herein as Zebrowski Note # 3. EXHIBIT H annexed

herewith.
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The forged specific indorsement to WELLS FARGO that was placed on the

SunTrust Zebrowski Note was therefore placed on Zebrowski Note # 3

almost seven years after SunTrust had sold the note to Freddie, and SunTrust no
longer had any legal or beneficial ownership in the Note, nor any lawful

authority to indorse the note to WELLS FARGO.
But SunTrust never indorsed the Zebrowski note to WELLS FARGO.

WELLS FARGO, its agents and/or employees, forged the SunTrust specific

indorsement on the Zebrowski note to WELLS FARGO.

Even a cursory inspection of Zebrowski Note #3 clearly shows that the font

on the SunTrust specific indorsement to WELLS FARGO does not match the
rest of the SunTrust indorsement stamp fonts, but the font does match the

font used on the WELLS FARGO indorsement stamp.

PLAINTIFF alleges that WELLS FARGO, MERS, SELENE, WILMINGTON,
TRUSTEE, BCAT, KKM, KOMOSINSKI, and KOSSAR, acting individually and/or
collectively, conspired to further the goals of the criminal Enterprise, and

using the U.S. mails and/or wire services:

a. Created and executed the fraudulent SunTrust Zebrowski mortgage

assignment to WELLS FARGO on July 9, 2012;

b. On or about July 12, 2012, filed with the Saratoga County Clerk the

fraudulent July 9, 2012 mortgage assignment;

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C. Replaced the blank SunTrust mortgage note indorsement with a
forged specific SunTrust indorsement to WELLS FARGO, subsequent to
January 1, 2015, nearly 9.5 years after SunTrust had sold the

Zebrowski mortgage note to Freddie Mac;

d. Served the forged and fraudulently indorsed SunTrust Zebrowski
mortgage note and mortgage assignments upon the Zebrowski

defendants in the foreclosure action on or about April 12, 2016;

e. Filed with the court and the Saratoga County Clerk the forged and
fraudulently indorsed SunTrust Zebrowski mortgage note and
mortgage assignments in the Zebrowski foreclosure action, as exhibits

~ to the foreclosure complaint, on or about April 12, 2016;

f. In 2016, served the forged and fraudulently indorsed SunTrust
Zebrowski mortgage note and mortgage assignments in the
Zebrowski foreclosure action upon the PLAINTIFF GARRASI, when
GARRASI became an intervening defendant in the mortgage

foreclosure action.

g. Filed with the foreclosure court and the Saratoga County Clerk the
forged and fraudulently indorsed SunTrust Zebrowski mortgage note,
the fraudulent limited powers of attorney, the fraudulent mortgage

assignments, along with a supporting perjured affidavit from SELENE’s

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employee Anthony D’Addona, when Defendants in this action made a

motion for summary judgment on or about January 11, 2018;

h. Served upon foreclosure defendant GARRASI, the fraudulent mortgage
assignments, the SunTrust Zebrowski note containing the forged
indorsement, the fraudulent limited powers of attorney, and
D’Addona’s perjured supporting affidavit, when Defendants made
their January 11, 2018 motion for summary judgment in the

Zebrowski foreclosure action.

In 2012, when WELLS FARGO filed the false proof of claim in the Zebrowski
bankruptcy case, WELLS FARGO violated 18 U.S.C. § 152, and such filing was

a RICO predicate act.

WELLS FARGO’s filing of the false proof of claim was designed to extract
whatever funds could be extracted from the Zebrowski bankruptcy estate,

and to tee up the Zebrowskis for the prospective foreclosure action.

Subsequent to March 1, 2015 WELLS FARGO violated 18 U.S.C. § 1341, mail
fraud, by using the mails to transfer a forged instrument, i.e., the Zebrowski

SunTrust Note, from either Minnesota or lowa to SELENE in Texas.

Subsequent to March 1, 2015 WELLS FARGO violated 18 U.S.C. § 1343, wire

fraud, by using wire services to include fax, email, and the internet to

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transfer a forged instrument, i.e., the Zebrowski SunTrust Note, from either

Minnesota or lowa to SELENE in Texas.

Subsequent to March 1, 2015, WELLS FARGO fraudulently assigned the note

and mortgage to TRUSTEE,

In 2015-2016 WELLS FARGO violated 18 U.S.C. § 1341, mail fraud, by using
the mails to file false, fraudulent, forged instruments, and perjured

affidavits, affirmations, and certifications, with the Saratoga County Clerk,
the foreclosure court, and then serving those instruments and documents

upon the foreclosure Defendants.

As established above, however, WELLS FARGO, could not have legally sold or
assigned the defaulted Zebrowski note and mortgage to TRUSTEE, because

SunTrust had already sold the Zebrowski note and mortgage to Freddie Mac

in November of 2005.

WELLS FARGO, subsequent to May 1, 2015, then entered into a fraudulent
arrangement and agreement with SELENE, claiming that SELENE was
authorized to act on WELLS FARGO’s behalf with respect to WELLS FARGO’s

purported ownership of the defaulted Zebrowski note and mortgage.

In order to accomplish the foregoing, WELLS FARGO granted SELENE a

fraudulent Limited Power Of Attorney (“LPOA’) on June 10, 2015, which was

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recorded in the Saratoga County Clerk’s office on July 8, 2015. EXHIBIT I

annexed herewith.

The fraudulent LPOA authorized SELENE to function as WELLS FARGO’s agent

in legal and financial matters relating to certain mortgage notes and

mortgages in which WELLS FARGO claimed to have an interest, including the

Zebrowski note and mortgage. Id.

The fraudulent LPOA also authorized SELENE to do all things that WELLS
FARGO could do with respect to the mortgage loans and their
administration, which would necessarily include securing foreclosure
counsel and providing fraudulent documents and perjured affidavits as

necessary. Id.

This fraudulent arrangement and LPOA agreement with SELENE was a
necessary tool required to advance the goal of the criminal racketeering

Enterprise, which goal was to deprive the defendants in the foreclosure

action of their real property.

Subsequent to June 9, 2015, using the mails and/or wire services, WELLS
FARGO in Minnesota transmitted across state lines the June 10, 2015

fraudulent LPOA to SELENE in Texas.

Further, WELLS FARGO refused in the Zebrowski foreclosure action to

produce any accounting journals or ledgers proving that it paid for the

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Zebrowski note and mortgage, even though Defendant GARRASI in the

foreclosure action requested such information during discovery.

Because WELLS FARGO never paid for the Zebrowski note it knew that it had

illegal possession of the Zebrowski note.

And in the state foreclosure action WELLS FARGO has refused to respond or
object to a subpoena served upon it over a year and a half ago seeking
information and documentation regarding WELLS FARGO’s role in the forged
and fraudulently altered Zebrowski note and fraudulent mortgage

assignments.

Further, the original SunTrust Zebrowski note was originated in New York

and then sent by either a New York title company, a New York mortgage

_ broker, or other New York agent of or for SunTrust, to SunTrust in Virginia.

Thus, in order for WELLS FARGO to get possession of the purloined
Zebrowski note in Minnesota, the note would have had to have crossed state

lines via mail or physical transport.

WELLS FARGO knew when it received the Zebrowski note that WELLS FARGO

had come into possession of stolen or converted property.

Thereafter WELLS FARGO forged and altered the note to make WELLS FARGO

the specific payee.

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WELLS FARGO accomplished this by having an employee named Jason P.
Brumm, purporting to be a Wells Fargo Vice President Loan Documentation,

indorse the Zebrowski SunTrust note in blank. See Zebrowski Note # 3.

But because WELLS FARGO was neither an owner or holder of the Zebrowski

note, Brumm had no authority to indorse the note to anyone.

Subsequent to May 1, 2015, and in furtherance of the goals of the
racketeering Enterprise’s scheme or artifice to defraud, WELLS FARGO in
Minnesota then used the mails and/or wire services to transfer or transmit

the converted and forged note across state lines to SELENE in Texas.

By so doing, WELLS FARGO violated 18 U.S.C. § 1341 (mail fraud), or 18

U.S.C. § 1343 (wire fraud), both of which are RICO predicate acts.

Additionally, WELLS FARGO’s knowingly possessing or transmitting across
state lines stolen or converted property in excess of $5,000, to include
securities such as the Zebrowski note, was a violation of 18 U.S.C. § 2314,

which is also a RICO predicate act.

And WELLS FARGO’s receiving, possessing, or storing knowingly stolen or
converted property or securities in excess of $5,000, that have crossed state

lines, is a violation of 18 U.S.C. § 2315, which is also a RICO predicate act.

The Zebrowski mortgage note’s value exceeds $5,000.

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On September 23, 2015, WELLS FARGO, using the mails or wire services, filed
another fraudulent assignment of the Zebrowski mortgage with the Saratoga

County Clerk, wherein WELLS FARGO falsely claimed to be the “holder” [sic]

of the Zebrowski mortgage.? EXHIBIT J annexed herewith.

The fraudulent mortgage assignment purported to assign the mortgage to

the Plaintiff TRUSTEE (BCAT 2015). Id.

The assignment also falsely claimed that BCAT 2015 paid value to WELLS

FARGO for the mortgage assignment. Id.

WELLS FARGO, in Minnesota, on or about January 14, 2016, sent to SELENE
in Texas, via mail or wire services, a Zebrowski collateral file that included
the original or a copy of the Zebrowski Note with the forged indorsement

upon it. EXHIBIT K annexed herewith.

By this time, the collateral file would have included Zebrowski Note # 3 with

the forged SunTrust to WELLS FARGO indorsement.

WELLS FARGO, in Minnesota, on or about October 26, 2018, again sent via
mail or wire services, a Zebrowski collateral file to SELENE in Texas, that
included the original or a copy of the Zebrowski Note with the forged

indorsement upon it. EXHIBIT L annexed herewith.

3 One can only be a “holder” of a negotiable instrument. A mortgage is not a negotiable

instrument. Thus, one can only an owner or assignee of a mortgage.

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WELLS FARGO received compensation from SELENE, other members of the
Enterprise, or the Enterprise itself for forging and delivering the SunTrust

Zebrowski Note to Selene, and/or to other members of the Enterprise.

WELLS FARGO thus derived income from SELENE, other members of the
Enterprise, or the Enterprise itself, and then used, invested, or reinvested
some part of that income in the establishment and operation of an
Enterprise, i.e., the bank itself, which was engaged in, or its activities

affected, interstate commerce.

Since the Zebrowski Enterprise foreclosure action was unlawful, WELLS
FARGO’s forging and providing the SunTrust Zebrowski Note that aided and

abetted the prosecution of that foreclosure action, violated 18 U.S.C. § 1962
(a).
WELLS FARGO was engaged in actions that affect interstate commerce

through a pattern of racketeering activity, i.e., mail fraud and wire fraud.
WELLS FARGO maintained and interest in the foreclosure action Enterprise.
WELLS FARGO thus violated 18 U.S.C. § 1962 (b).

WELLS FARGO was employed by or associated with the unlawful foreclosure

Enterprise.

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WELLS FARGO participated, directly or indirectly, in the conduct of the

Enterprise’s affairs.
WELLS FARGO thus violated 18 U.S.C. § 1962 (c).

By conspiring with the other members of the Enterprise to violate 18 U.S.C.

§§ 1962 (a)-(c), WELLS FARGO violated 18 U.S.C. § 1962 (d).

WELLS FARGO is an entity that exists independently of the racketeering

Enterprise.

WELLS FARGO has committed two or more RICO predicate acts within the

last 10 years, constituting a continuing pattern of racketeering.

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SELENE, BCAT, WILMINGTON & TRUSTEE

94. PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

95. Defendants SELENE, BCAT, and WILMINGTON conspired with each other to

create fraudulent documents used by the Enterprise.
96. SELENE drafted a number of these fraudulent documents for the Enterprise.

97. After SELENE drafted the fraudulent documents, * SELENE mailed or wired

them from Texas to WILMINGTON and/or BCAT in Delaware.

98. One such document was an LPOA executed on May 13, 2015 by Jeffrey R.
Everhart who claimed to. be an Assistant Vice President of BCAT. EXHIBIT M

annexed herewith.

99. The LPOA that Everhart executed purported to appoint SELENE as BCAT’s

attorney in fact authorizing SELENE to act in all legal and financial matters in

BCAT’s stead, to include the Zebrowski foreclosure matter. °

100. But because BCAT is alleged to be a trust, it has no assistant vice presidents

in its employ, nor did it ever.

4 Page 1 of the LPOA states that the LPOA was drafted by SELENE.

5 Although executed on May 13, 2015, the LPOA was not recorded in the Saratoga County
Clerk’s office until April 9, 2020, four years after the Zebrowski foreclosure action was
commenced.

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101. Nevertheless, Yulia Davydovitch, ° the notary taking Everhart’s acknowledged
signature on the LPOA, states that Everhart was personally known to her as
both the signatory on the LPOA as well as an Assistant Vice President of

BCAT. Id.

102. Notary Davydovitch further stated that Everhart acknowledged to her “that
such national banking association [BCAT] executed the within instrument

pursuant to its by-laws or a resolution of its board of directors.” Id.

103. But BCAT is not a national banking association, but rather claims to be a

. Delaware Statutory trust.
104. BCAT therefore has no by-laws, nor any board of directors.

105. Moreover, as evidence of the conspiracy between WILMINGTON, SELENE, and
BCAT, the LPOA signature page states that the Document was drafted by

BCAT. Id.

106. After SELENE drafted the LPOA in Texas, it used the mails and/or wire
services to send the LPOA to WILMINGTON and BCAT in Delaware so that the

LPOA could be executed by Everhart.

107. After Everhart executed the LPOA in Delaware, it was sent back to SELENE in

Texas via the mails or wire services.

6 Yulia Davydovitch is employed by Christiana Bank & Trust, a division of Defendant
WILMINGTON.

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108. Thereafter, SELENE, using the mails and/or wire services, forwarded the
LPOA on to Charles Brown & Associates, located at 2316 Southmore,
Pasadena, TX 77502, with instructions to file and record the LPOA in the

Saratoga County Clerk’s Office.

109. Using the mails and/or wire services, Charles Brown & Associates as SELENE’s
agent, then forwarded the LPOA on to the Saratoga County Clerk’s Office’s

with instructions to file and record the LPOA.

110. On or about February 16, 2017, using the U.S. mails, SELENE sent a
fraudulent collection letter to the Zebrowskis and PLAINTIFF demanding
payment by March 1, 2017. The amount of the payment demanded was
$106,886.36. Since the Zebrowski mortgage debt was discharged in
bankruptcy, this letter constituted a violation of the Fair Debt Collection

Practices Act (“FDCPA’).

111. On or about March 16, 2017, using the U.S. mails, SELENE sent another
fraudulent collection letter to the Zebrowskis and PLAINTIFF demanding
payment by April 1, 2017. The amount of the payment demanded was

$110,393.86. Again, this letter also constituted a violation of the FDCPA.

112. On or about June 5, 2018, using the U.S. mails, SELENE sent a letter to the
Zebrowskis and PLAINTIFF stating that SELENE had purchased hazard

insurance on the Stablegate premises, that the premiums would amount to

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$1,990.20 per year, and that said amount would be added to the mortgage
loan account, and would be charged to the Zebrowskis and that the
Zebrowskis would have to pay SELENE back for this expense. This letter also

violated the FDCPA.

On or about July 27, 2018, using the U.S. mails, SELENE sent a second letter
to the Zebrowskis and PLAINTIFF stating again that SELENE had purchased
hazard insurance on the Stablegate premises, that the premiums would
amount to $1,990.20, and that said amount would be added to the mortgage
loan account, and would be charged to the Zebrowskis, and that the
Zebrowskis would have to pay SELENE back for this expense. This letter also

violated the FDCPA.

On or about October 29, 2018, using FedEx mail, Selene in Texas sent the
collateral file containing the aforementioned forged and fraudulent

documents to KKM in New York. EXHIBIT N annexed herewith.

On or about April 4, 2019, KKM using FedEx mail sent the Zebrowski
SunTrust mortgage and note with the forged indorsement to the law firm of

McGlinchey Stafford, PLLC in New York City. EXHIBIT O annexed herewith.

On or about April 5, 2020, SELENE’s agent, Charles Brown & Associates,
using the mails or wire services, sent from Texas the fraudulent LPOA that

was executed by Jeffrey Everhart in September 2015, to the Saratoga County

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Clerk in New York for recording and filing in the Enterprise foreclosure

action.

117. On April 9, 2020, the Saratoga County Clerk recorded the fraudulent LPOA in

both the county land records and in the pending foreclosure action.

118. Also, on April 9, 2020, SELENE used the LPOA to purportedly convey the
Zebrowski mortgage out of the BCAT 2015-13ATT trust, to a new Delaware

Statutory trust, BCAT 2020-1TT.

119. Since the Zebrowski foreclosure action was unlawful, WILMINGTON’s
knowing and willful participation as a trustee plaintiff in that foreclosure
action aided and abetted the Enterprise’s unlawful scheme and artifice to

defraud, and violated 18 U.S.C. § 1962 (a).

120. WILMINGTON, BCAT, and TRUSTEE were thus engaged in actions that affect
interstate commerce through a pattern of racketeering activity, i.e., mail

fraud and wire fraud.

121. WILMINGTON, BCAT, and TRUSTEE maintained and interest in the Enterprise

foreclosure action.
122. WILMINGTON, BCAT, and TRUSTEE thus violated 18 U.S.C. § 1962 (b).

123. WILMINGTON, BCAT, and TRUSTEE were employed by or associated with the

unlawful foreclosure Enterprise.

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WILMINGTON, BCAT, and TRUSTEE participated, directly or indirectly, in the

conduct of the Enterprise’s affairs.

WILMINGTON, BCAT, and TRUSTEE thus violated 18 U.S.C. § 1962 (c).

By conspiring with the other members of the Enterprise to violate 18 U.S.C.
§§ 1962 (a)-(c), WILMINGTON, BCAT, and TRUSTEE violated 18 U.S.C. § 1962
(d).

WILMINGTON, BCAT, and TRUSTEE are entities that exist independently of

the racketeering Enterprise.

WILMINGTON, BCAT, and TRUSTEE have committed two or more RICO
predicate acts within the last 10 years, constituting a continuing pattern of

racketeering.

As established above, SELENE, working independently or in concert with
WELLS FARGO, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR, was responsible for the forged and fraudulent note indorsement

and the fraudulent Zebrowski mortgage assignments.

As established above, SELENE also entered into fraudulent LPOAs with both

WELLS FARGO and WILMINGTON.

SELENE selected WILMINGTON to be the Enterprise plaintiff trustee for

BCAT.

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132. Further, SELENE has selected WILMINGTON to be putative plaintiff trustee in

over 25 New York mortgage foreclosure actions since 2010. (Source: eCourts)

133. SELENE was responsible for paying WILMINGTON’s putative trustee or
service fees for acting as the BCAT trustee plaintiff in the Zebrowski

foreclosure action.

134. SELENE was also responsible for selecting the Defendant KKM law firm to

initiate the Enterprise’s fraudulent Zebrowski foreclosure action.

135. SELENE has selected KKM to be legal counsel for over 25 trustee mortgage

foreclosure plaintiffs since 2010. (Source: eCourts)

136. SELENE was the party responsible for paying KKM legal fees allegedly

incurred by TRUSTEE in the Zebrowski foreclosure action Enterprise.

137. Defendants SELENE, WILMINGTON, KKM, and KOMOSINSKI have formed five
or more similar unlawful foreclosure Association-In-Fact Enterprises in both

New York and New Jersey since 2010.

138. SELENE thus conspired with WILMINGTON, WELLS FARGO, TRUSTEE, BCAT,
KKM, KOMOSINSKI, and KOSSAR to conduct, execute, and carry out the

Association-In-Fact racketeering Enterprise.

139. In furtherance of the Enterprise’s goal, SELENE executed a fraudulent

Zebrowski loan servicing agreement with WELLS FARGO.

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The loan servicing agreement was fraudulent because WELLS FARGO did not

own the Zebrowski mortgage loan.

In furtherance of the Enterprise’s goal, SELENE executed a fraudulent trustee

agreement with TRUSTEE and BCAT.

In furtherance of the Enterprise’s goal, SELENE executed a legal services
retainer agreement with KKM, for the purpose of bringing the Enterprise’s

fraudulent foreclosure action.

In furtherance of the Enterprise’s goal, between May 1, 2015 and April 12,
2016, SELENE transmitted all the above fraudulent agreements to WELLS
FARGO, BCAT, WILMINGTON, TRUSTEE and KKM, across state lines, using the

mails and/or wire services.

In furtherance of the Enterprise’s goal, between May 1, 2015 and April 12,
2016, after executing the above fraudulent agreements, acting individually
or collectively, WELLS FARGO, BCAT, WILMINGTON, TRUSTEE and KKM, used
the mails and wire services to send executed copies of those agreements

from their respective states back to SELENE in Texas.

One of SELENE’s key responsibilities in the racketeering Enterprise was to

provide forged and fraudulent documents.

These documents included the Zebrowski mortgage and note assignments,

as well as well as causing SELENE’s employees and/or agents to provide

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perjured affidavits so as to secure an unlawful summary judgment and/or an

unlawful judgment of foreclosure and sale for the Enterprise.

As an example, SELENE produced an affidavit of its employee Anthony

D’Addona sworn to November 7, 2017. EXHIBIT P annexed herewith.

In his affidavit, D’Addona falsely stated that he was authorized to execute
the affidavit by WILMINGTON and TRUSTEE by way of a valid LPOA; that
SunTrust assigned the Note and Mortgage to Wells Fargo; that the Mortgage
was assigned from WELLS FARGO to TRUSTEE on Sept. 3, 2015; that
TRUSTEE was the owner and/or holder of the Note and assignee of the
Mortgage on the date the Summons & Complaint was filed; and that the
Note was indorsed in blank during the pendency of the foreclosure action.

(Clearly, it was not.)

All of the above sworn statements that D’Addona made on behalf of, and at

the direction of defendant SELENE, were false.

And at the time that D’Addona made those sworn statements on behalf of
and at the direction of his employer Defendant SELENE, both he and
Defendant SELENE knew the statements to be false, and both D’Addona and
SELENE intended for the Zebrowskis, GARRASI, and the Court to justifiably

rely upon the false statements and be damaged thereby.

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D’Addona’s perjured affidavit was sent by SELENE from Florida, via the mails
or wire services, to KKM, KOMOSINSKI, and/or KOSSAR in Elmsford, New

York.

D’Addona’s affidavit was included as an EXHIBIT to KOSSAR’S Affirmation in
Support of TRUSTEE’s Motion for Summary Judgment dated January 11,

2018.

KKM, KOMOSINSKI, and KOSSAR, on or about January 11, 2018, using the
mails and/or wire services, thereupon filed TRUSTEE’S fraudulent Summary
Judgment Motion Papers, to include the perjured D’Addona affidavit, with
both the Saratoga County Clerk and the foreclosure Court and served them

upon GARRASI.

KKM, KOMOSINSKI, and KOSSAR, also on or about January 11, 2018, using
the mails and/or wire services, filed and served upon GARRASI a
Memorandum of Law in support of plaintiff’s motion for summary

judgment.

The Memorandum of Law contained false statements and allegations such
as: plaintiff’s mortgage note/loan assignor was SunTrust Mortgage, Inc.; that
the plaintiff made a prima facie showing of entitlement to judgment as a
matter of law; that the plaintiff authenticated its position; that the motion

was well supported by the complaint, affidavit, and affirmation thereto,

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along with the requisite supporting documentary evidence; that plaintiff was

a holder of the note, properly indorsed.

156. None of the foregoing allegations of fact made by KKM, KOSSAR, or
KOMOSINSKI were true, and at the time that the Defendants made those

allegations, they knew them to be false.

157. Thereafter, SELENE, on or about October 29, 2018, using FedEx mail service,

sent a fraudulent Bailment Letter to KKM. EXHIBIT N, annexed herewith.

158. The Bailment Letter stated that enclosed was the original Zebrowski Note

endorsed [sic] from Suntrust Mortgage to Wells Fargo Bank, N.A.

159. SELENE, in the Bailment Letter, also stated that it had retained KKM to

oversee and manage the foreclosure proceedings.

160. Since SunTrust never specifically indorsed the Zebrowski original Note to
Defendant WELLS FARGO, the Bailment Letter and the forged Zebrowski
Note constituted another act of mail fraud and or wire fraud, and a RICO

predicate act, on the part of SELENE.

161. Since the Zebrowski foreclosure action was unlawful, SELENE’s participation
assisting WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and KOSSAR in
the Zebrowski foreclosure action aided and abetted the Enterprise’s

unlawful actions in furtherance of the Enterprise’s goals, thus violating 18

U.S.C. § 1962 (a).

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Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR are or were engaged in actions that affect interstate commerce
through a pattern of racketeering activity, i.e., mail fraud and wire fraud, at a

minimum.

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR maintain or maintained an interest in the unlawful foreclosure

Enterprise.

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR thus derived income from the Enterprise or its members, and then
used, invested, or reinvested some part of that income in the establishment
and operation of an enterprise, i.e., their own active participation in the
Enterprise, which was engaged in, or its activities affected, interstate

commerce.

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and

KOSSAR thus violated 18 U.S.C. § 1962 (b).

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR are or were employed by or associated with the unlawful

foreclosure Enterprise.

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Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR participated and/or continue to participate, directly or indirectly, in

the conduct of the foreclosure Enterprise’s affairs.

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and

KOSSAR thus violated 18 U.S.C. § 1962 (c).

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR, by conspiring with the other members of the unlawful foreclosure

Enterprise violated 18 U.S.C. §§ 1962 (a)-(c), violated 18 U.S.C. § 1962 (d).

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR are persons or entities that exist independently of the racketeering

Enterprise.

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, KKM, KOMOSINSKI, and
KOSSAR have committed two or more RICO predicate acts within the last 10

years, constituting a continuing pattern of racketeering.

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MERS

172. PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

173. Defendant MERS’ role in the racketeering enterprise was to provide the
initial “lubrication” for the fraudulent SunTrust mortgage assignment to

WELLS FARGO.

174. It provided this lubrication by purporting to be the lawful nominee for
SunTrust, the original lender, with authority to execute the Zebrowski

mortgage assignment on behalf of SunTrust to WELLS FARGO.

175. MERS, at the time that it fraudulently assigned the SunTrust Zebrowski
mortgage to WELLS FARGO in July 2012, knew that it did not have any lawful

authority or capacity to execute such an assignment.

176. MERS then used the mails and/or wire services to transmit the fraudulent
SunTrust Zebrowski mortgage assignment from MERS’s principal place of
business in Danville, Illinois or in Flint, Michigan, to the Saratoga County

Clerk’s office in New York for recording.

177. The Saratoga County Clerk recorded MERS’ fraudulent mortgage assignment

on July 12, 2012.

178. Also in July 2012, MERS from its offices in Flint, Michigan or in Danville,

Illinois, used the mails and/or wire services to send a copy of the fraudulent

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Zebrowski mortgage assignment to Defendant WELLS FARGO in Minneapolis,

Minnesota and/or to WELLS FARGO’s offices in Des Moines, Iowa.

Since the Zebrowski foreclosure action was unlawful, MERS’s knowing
participation in that foreclosure action via mail and wire services aided and
abetted the other members of the Enterprise, in the Enterprise’s unlawful

scheme or artifice to defraud, and in furtherance of the Enterprise’s goals.
MERS thus violated 18 U.S.C. § 1962 (a).

MERS was engaged in actions that affect interstate commerce through a

pattern of racketeering activity, i.e., mail fraud and/or wire fraud.
MERS maintained and interest in the foreclosure action Enterprise.
MERS thus violated 18 U.S.C. § 1962 (b).

MERS was employed by or associated with the unlawful foreclosure

Enterprise.

MERS was compensated for its services by members of the Enterprise, i.e.,

Defendants SELENE, WILMINGTON, TRUSTEE, BCAT, or WELLS FARGO.

MERS thus derived income from the Enterprise or its members, and then
used, invested, or reinvested some part of that income in the establishment
and operation of an enterprise, i.e., MERS itself, which was engaged in, or its

activities affected, interstate commerce.

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MERS participated, directly or indirectly, in the conduct of the Enterprise’s

affairs.
MERS thus violated 18 U.S.C. § 1962 (c).

By conspiring with the other members of the Enterprise to violate 18 U.S.C.

§§ 1962 (a)-(c), MERS violated 18 U.S.C. § 1962 (d).
MERS is an entity that exists independently of the racketeering Enterprise

MERS has committed two or more RICO predicate acts within the last 10

years, constituting a continuing pattern of racketeering.

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THE KNUCKLES KOMOSINSKI & MANFRO LAW FIRM

PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

In any securitized mortgage backed securities foreclosure action, such as the
Zebrowski foreclosure action, it is the mortgage loan servicer (SELENE in this
case), that is actually the enterprise “King Pin” or “Mob Boss” responsible for
the initiation of the foreclosure litigation, and is the ultimate arbiter of

material decisions affecting the course of the litigation.

Defendant SELENE, the mortgage loan servicer, is the Enterprise person that
was responsible for hiring KKM and its attorneys to prosecute the

Enterprise’s unlawful Zebrowski foreclosure action. 7

SELENE has a retainer agreement with KKM that authorized KKM to initiate

and prosecute the Enterprise’s unlawful Zebrowski foreclosure action.
KKM employed attorney Defendant KOSSAR.

KKM employs attorney Defendant KOMOSINSKI.

KOMOSINSKI holds a partnership interest in KKM.

The KKM law firm is essentially the “Enforcer” in this racketeering

Enterprise.

7 Tn the past ten years, SELENE, WILMINGTON, KKM, and KOMOSINSKI have

been members of an association-in-fact in at least 15 mortgage loan foreclosure actions in New
York and New Jersey.

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KKM, through its partners and employees, was responsible for initiating the
fraudulent foreclosure action against the Zebrowskis on or about April 12,
2016, using the mails and wire services to file and serve the foreclosure

action summons and fraudulent complaint.

The fraudulent foreclosure action commenced against the Zebrowskis and

maintained against PLAINTIFF GARRASI herein, continues to this date.

KKM, through its partners and employees, was responsible for the drafting
of the plaintiff TRUSTEE’S fraudulent Complaint, Reply, Motions, perjured
Affirmations and Certifications, Discovery demands, and responses to
Defendant GARRASI’S Amended Answer, his opposing Motions, Reply
Affidavits, and GARRASI’s Discovery demands in the years 2016, 2017, 2018,

and part of 2019.

Using the mails or wire services, KKM caused its partners, employees, and
agents to file and serve plaintiff TRUSTEE’S fraudulent Complaint, Reply,
Motions, perjured Affirmations and Certifications, Discovery demands, and
responses to Defendant GARRASI’S Amended Answer, his opposing Motions,
Reply Affidavits, and GARRASI’s Discovery demands in the years 2016, 2017,

2018, and part of 2019.

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204. As an example, on July 7, 2016, PLAINTIFF GARRASI made a motion to
intervene in the foreclosure action based on his deeded interest in the

subject real property, 7 Stablegate Drive, Clifton Park, NY 12065.

205. On or about August 22, 2016, KKM and KOMOSINSKI caused attorney Justin
P. Robinson to file and serve an affirmation in opposition to GARRASI’s

motion.

206. Robinson, using the mails and/or wire services, filed and served the

affirmation in opposition.

207. In his affirmation, Robinson falsely claimed that “the aforementioned
mortgage was ultimately assigned to plaintiff by [WELLS FARGO’s]

Assignment of Mortgage dated September 3, 2015.

208. Robinson also recited the fact that mortgage assignment was recorded in the
Saratoga County Clerk’s office on September 23, 2015, Instrument No.

2015028496.

209. At the time that KKM and KOMOSINSK!I directed Robinson to sign, file, and
serve his affirmation, KKM and KOMOSINSKI knew that Zebrowski mortgage
assignment from WELLS FARGO to TRUSTEE plaintiff was false, fraudulent,

and unlawful.

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Robinson in his affirmation also falsely stated that “TRUSTEE plaintiff has
incurred large sums of money for taxes, insurance, legal fees, and other

expenses.”

KKM and KOMOSINSKI also knew at that time of Robinson’s affirmation that
TRUSTEE plaintiff had never paid the aforementioned expenses, and to the

extent that any such expenses were being paid, they were being paid solely

by SELENE, not TRUSTEE plaintiff.

On October 25, 2016, Judge Chauvin granted GARRASI’s motion to intervene

in the foreclosure action.

All the foregoing are matters of public record having been filed in the

Saratoga County Clerk’s office by KKM, its partners, and/or its employees.

On or about April 5, 2019, using FedEx mail service, KKM caused its partners,
employees, and agents to send McGlinchey Stafford-TRUSTEE’s new
attorneys—what KKM purported was the “Original Zebrowski Collateral File,”
allegedly containing the original Zebrowski Note, but actually containing the
Zebrowski Note with the forged SunTrust indorsement. EXHIBIT O annexed

herewith.
The Collateral file was sent to McGlinchey Stafford, PLLC in New York City.

At the time that KKM sent the collateral file containing the forged Zebrowski

Note indorsement, KKM and its partners and employees knew that the

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Zebrowski Note in the collateral file contained the forged indorsement that

purported to negotiate the Note from SunTrust to WELLS FARGO.

The KKM collateral file documentation was received by McGlinchey Stafford
and was signed for by Mitra Singh, an attorney with McGlinchey Stafford at

the time.

KKM received legal fees from SELENE and/or other members of the

Enterprise for prosecuting the fraudulent Zebrowski foreclosure action.

KKM thus derived income from SELENE and/or other members of the
Enterprise, and then used, invested, or reinvested some part of that income
in the establishment and operation of an enterprise, i.e., its law firm, which

was engaged in, or its activities affected, interstate commerce.

Since the Zebrowski foreclosure action Enterprise was unlawful, KKM’s

prosecution of that action violated 18 U.S.C. § 1962 (a).

KKM was engaged in actions that affect interstate commerce through a

pattern of racketeering activity, i.e., mail fraud and wire fraud.
KKM maintained and interest in the foreclosure action Enterprise.
KKM thus violated 18 U.S.C. § 1962 (b).

KKM was employed by or associated with the unlawful foreclosure

Enterprise. '

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KKM participated, directly or indirectly, in the conduct of the Enterprise’s

scheme or artifice to defraud.
KKM thus violated 18 U.S.C. § 1962 (c).

By conspiring with the other members of the Enterprise to violate 18 U.S.C.

§§ 1962 (a)-(c), KKM violated 18 U.S.C. § 1962 (d).
KKM is an entity that exists independently of the racketeering Enterprise.

KKM has committed two or more RICO predicate acts within the last 10

years, constituting a continuing pattern of racketeering.

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ATTORNEY RICHARD F. KOMOSINSKI

PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

Defendant KOMOSINSKI is a managing partner of the Defendant KKM law

firm.

As such, KOMOSINSKI was fully aware of the material facts, circumstances,

and the legal issues associated with the Enterprise’s foreclosure action.

At all times relevant herein, KOMOSINSKI managed and oversaw the overall

foreclosure litigation for the racketeering Enterprise.

KOMOSINSKI was the attorney that initiated the fraudulent Enterprise
foreclosure action, after he received all the fraudulent documentation from

SELENE necessary to file the Summons and Complaint against the

' defendants in the Zebrowski Enterprise foreclosure action.

KOMOSINSKI was also the KKM partner responsible for providing all the
perjured initiatory certifications and affirmations to the county clerk and the
court, warranting and representing to the clerk and the court that the

Zebrowski foreclosure action was well grounded both in law and fact.

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236. On or about April 11-12, 2016, KOMOSINSKI signed both the Zebrowski
Enterprise foreclosure action Complaint and also the Notice of Pendency as

attorney for the foreclosure plaintiff TRUSTEE.

237. The Notice of Pendency falsely claimed that the Zebrowski mortgage “was

ultimately assigned [by WELLS FARGO] to TRUSTEE plaintiff by written

assignment dated September 3, 2015.” ®

238. Using the U.S. mails and/or wire services, on or about April 12, 2016, KKM
and KOMOSINSKI, acting individually or in concert, filed or caused to be filed
the fraudulent Enterprise foreclosure Complaint and Notice of Pendency

with and in the Saratoga County Clerk’s office.

239. Along with the plaintiff’s fraudulent Enterprise foreclosure Complaint filed
on or about April 12, 2016, Defendant KOMOSINSK!I signed a Certificate of

Merit, pursuant to CPLR 3012-b, dated April 11, 2016.

240. In his Certificate of Merit, KOMOSINSKI falsely swore that he had reviewed
the facts of the case and pertinent documents, including the mortgage and

note, and all instruments of assignment.

8 On March 24, 2017, using the mails or wire services, KOMOSINSKI renewed the Notice of
Pendency, again falsely stating that the Zebrowski Mortgage was ultimately assigned to
foreclosure plaintiff TRUSTEE, and filed the Notice in the Saratoga County Clerk’s office.

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In his Certificate of Merit, KOMOSINSKI falsely swore that he had consulted
about the facts of this case with Dawn Berry, a purported Assistant Vice
President of SELENE, attorney in fact and purported mortgage loan servicing

agent for the foreclosure plaintiff TRUSTEE.

In his Certificate of Merit, KOMOSINSKI falsely swore that upon his review
and consultation, to the best of his knowledge, information, and belief, that
there was a reasonable basis for the commencement of the foreclosure
action, and that “plaintiff is the creditor entitled to enforce rights under the

mortgage and note.”

KOMOSINSKI also swore in his Certificate of Merit that he was aware of his
obligations under New York Rules of Professional Conduct (22 NYCRR Part

1200), and 22 NYCRR Part 130.

KOMOSINSKI also signed the blue-blacker affixed to the foreclosure

Complaint pursuant to Rule 130-1.1-a.

At the time that Defendant KOMOSINSKI made these written representations
in his Certificate of Merit, the representations were false, and KOMOSINSKI

knew them to be false.

At the time that Defendant KOMOSINSKI made these written
representations, he intended for defendants in the Enterprise foreclosure

action to justifiably rely upon them.

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The Zebrowski Defendants in the Enterprise foreclosure action did justifiably

rely upon the written misrepresentations.

The Zebrowski Defendants in the Enterprise foreclosure action were
thereupon damaged in the amount of $49,000, because they sold their
residence in Clifton Park, NY that had approximately $50,000 in equity, to
PLAINTIFF GARRASI, who had also become a defendant in the Enterprise

foreclosure action, for the sum of $1,000.00.

On or about April 19, 2016, using the U.S. mails and/or wire services,
KOMOSINSK] and KKM thereupon had the fraudulent Enterprise foreclosure
Summons and Complaint sent to Eric Baestlein, a Process Server, to be

served upon the defendants.

Process Server Baestlein personally served Defendant David M. Zebrowski
with the fraudulent Summons and Complaint at 9 Tudor Lane, Clifton Park,

NY 12065, on April 29, 2016.

GARRASI, the PLAINTIFF herein and the successor in interest to the
Zebrowskis by way of their deed conveyance of the subject premises to him
on June 29, 2016, defended against KOMOSINSKI’s fraudulent

representations.

KOMOSINSKI’S false representations and submissions of forged and false

documents sent via the U.S. mails and wire services to GARRASI, the

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Zebrowskis, and the Saratoga County Clerk and the foreclosure judge,
caused GARRASI to expend $17,718.24 in legal fees to the law firm of E.
Stewart Jones, Hacker & Murphy, LLP, to defend against the Enterprise

foreclosure action.

GARRASI also suffered additional financial damages in the form of motion

fees/filing fees, postage, copying costs, and office supplies consumed.

KOMOSINSKT’S false representations and submissions were also instrumental
in causing both the Saratoga County Clerk and the foreclosure court to
expend unnecessarily government resources and funds by having to record
false and forged documents and to review and adjudicate pending legal

matters and motions in the Enterprise’s fraudulent foreclosure action.

On or about January 11, 2018, KKM, KOMOSINSKI, and KOSSAR, acting
separately or in concert with each other, and using the U.S. mails and/or wire
services, filed the TRUSTEE’S Motion for Summary Judgment with the
Saratoga County Clerk and with the foreclosure court judge, Hon. Robert

Chauvin.

Using the U.S. mails and/or wire services KKM, KOMOSINSKI, KOSSAR, acting
separately or in concert with each other, served GARRASI with TRUSTEE’S

summary judgment motion papers.

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It was not until PLAINTIFF GARRASI served a subpoena upon the original
Zebrowski lender, SunTrust Mortgage, Inc. in 2019, and until SunTrust’s
responded to the subpoena, that Garrasi discovered that SunTrust had sold
the Zebrowski mortgage note not to WELLS FARGO, but rather to Freddie

Mac.

And as stated previously, WELLS FARGO could not have sold the Zebrowski
note to TRUSTEE in 2015, because WELLS FARGO never owned the

Zebrowski note.

All the foregoing was fully known to Defendant KOMOSINSKI prior to even

filing the Zebrowski foreclosure action on April 12, 2016.

And from the filing of the Zebrowski foreclosure action on April 12, 2016,
until the time that the McGlinchey Stafford law firm was substituted in as
counsel for PLAINTIFF TRUSTEE, Defendants KKM, KOMOSINSKI, and/or
KOSSAR willfully, wantonly, and intentionally concealed WELLS FARGO’s,
WILMINGTON’s, SELENE’s, MERS’, BCAT’s and TRUSTEE’s fraudulent actions,
forgeries, and false material representations in the Zebrowski foreclosure
action, as well as those of their agents and employees, from the foreclosure

defendants, the foreclosure courts, and the Saratoga County Clerk.

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261. Defendants KKM, KOMOSINSKI, and KOSSAR’s scheme and artifice to defraud
over the course of their involvement in the Zebrowski Enterprise foreclosure

action violated 18 U.S.C. 1961 et seq.

262. GARRASI, as well as the Zebrowskis, the Saratoga County Clerk, and the
foreclosure courts are thus entitled to compensatory damages, treble

damages, and punitive damages.

263. Thereafter, KOMOSINSKI supervised Defendant KOSSAR’s litigation efforts
and the other KKM employees and agents that were assisting KOSSAR and

KOSSAR’s successors in the Enterprise foreclosure action.

264. Defendant KOMOSINSKI took all the actions alleged in this Complaint
intentionally, and participated in the Enterprise willfully, knowingly, and

wantonly.

265. Defendant KOMOSINSKI actively participated in the Enterprise scheme and
artifice to defraud the Zebrowskis, the County Clerk, the foreclosure courts, -

and GARRASI.

266. KOMOSINSKI received legal fees from KKM for prosecuting the Zebrowski

Enterprise foreclosure action.

267. KOMOSINSKI thus derived income from KKM, and then used, invested, or

reinvested some part of that income in the establishment and operation of

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an enterprise, i.e., his law firm, which was engaged in or its activities

affected interstate commerce.

268. Since the Zebrowski Enterprise foreclosure action was unlawful,
KOMOSINSKI’s knowing participation in the prosecution of that action using
the mails and wire services constituted a pattern of racketeering and

violated 18 U.S.C. § 1962 (a).

269. KOMOSINSKI was engaged in actions that affect interstate commerce

through a pattern of racketeering activity, i.e., mail fraud and wire fraud.

270. KOMOSINSKI maintained and interest in or was associated with both KKM

and the foreclosure action Enterprise.
271. KOMOSINSKI thus violated 18 U.S.C. § 1962 (b).

272. The foreclosure Enterprise’s actions, through a pattern of racketeering

activity (mail fraud and wire fraud), affected interstate commerce.

273. KOMOSINSKI was employed by or associated with the unlawful foreclosure

Enterprise.

274. KOMOSINSKI participated, directly or indirectly, in the conduct of the

Enterprise’s affairs.

275. KOMOSINSKI thus violated 18 U.S.C. § 1962 (c).

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276. By conspiring with the other members of the Enterprise to violate 18 U.S.C.

§§ 1962 (a)-(c), KOMOSINSKI violated 18 U.S.C. § 1962 (d).

277. KOMOSINSKI is a natural person and exists independently of the

racketeering Enterprise.

278. KOMOSINSKI has committed two or more RICO predicate acts within the last

10 years, constituting a continuing pattern of racketeering.

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ATTORNEY STUART L. KOSSAR

PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.
At all times relevant herein, Defendant KOSSAR was an employee of KKM.

KOSSAR’s role in the Enterprise was to tend to the day-to-day Zebrowski
foreclosure action litigation, making sure that the Enterprise foreclosure
action kept moving forward toward plaintiff TRUSTEE’s goal of a judgment

of foreclosure and sale.

Defendants KOSSAR and KOMOSINSKI worked not only as a team, but also
worked with Defendants SELENE, WILMINGTON, TRUSTEE, MERS, BCAT, and
KKM, and their employees and agents, to obtain the judgment of foreclosure
and sale and, ultimately, the anticipated liquidation of the Stablegate Drive

collateral.

For example, using the mails or wire services, KOSSAR was responsible for
filing and serving motions papers that included perjured affirmations,
certifications, affidavits, Replies to counterclaims, assertion of affirmative

defenses, and responses to motions and discovery notices.

In the course of doing so, and using the mails and or wire services, KOSSAR

also served copies of the above documents upon GARRASI.

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On or about July 18, 2016, PLAINTIFF GARRASI herein, filed an Answer to the

TRUSTEE’s foreclosure Complaint.
The Answer contained a Counterclaim.

Using the mails or wire services, on or about December 13, 2016, Defendant
KOSSAR filed and served a Verified Reply to GARRASI’s Answer, asserting

various affirmative defenses.
In his Verified Reply KOSSAR falsely swore that:

a. GARRAS] did not hold a valid interest or ownership in the subject

Stablegate real property;

b. Foreclosure plaintiff TRUSTEE had a lawfully assigned mortgage on

the subject Stablegate premises;

c. GARRASI’s claims were wholly subordinate to any interest of the

plaintiff in the subject premises.

d. GARRASI had no valid interest and/or ownership in the subject

premises.
e. GARRASI’s claim was barred by documentary evidence; and,

f. That KOSSAR had read the Verified Reply, knew the contents thereof;

that the same was true to his knowledge or the knowledge of his

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clients, except as to the matters stated to alleged upon information

and belief, and that as to those matters he believed them to be true.

289. However, all the matters stated by KOSSAR in his Reply were stated as facts —

— none were stated “on information and belief.”

290. KOSSAR also signed the blue backer to the Reply, falsely stating that the

contentions contained in the Reply were not frivolous.

291. On or about December 29, 2016, Garrasi filed and served a Verified Amended

Answer to the Complaint.
292. The Amended Answer contained a Counterclaim.

293. Using the mails and/or wire services, on January 11, 2017, KOSSAR filed with
the court and served upon GARRASI a Verified Reply to the Amended

Counterclaim.
294. In his Verified Reply KOSSAR falsely swore that:

a. GARRASI did not hold a valid interest or ownership in the subject

Stablegate real property;

b. Foreclosure plaintiff TRUSTEE had a lawfully assigned mortgage on

the subject Stablegate premises;

c. GARRASI’s claims were wholly subordinate to any interest of the

plaintiff in the subject premises.

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d. GARRASI had no valid interest and/or ownership in the subject

premises.
e. GARRASI’s claim was barred by documentary evidence;

f. That KOSSAR had read the Verified Reply, knew the contents thereof;
that the same was true to his knowledge or the knowledge of his
clients, except as to the matters stated to be alleged upon information

and belief, and that as to those matters he believed them to be true.

295. However, all the matters stated by KOSSAR in his Reply were stated as facts —

— none were stated “on information and belief.”

296. Also, on January 11, 2017, KOSSAR signed the blue-backer attached to the
Verified Reply to GARRASI’s Amended Answer, and falsely Certified that upon
information, belief and reasonable inquiry, the contentions contained in the

Reply were not frivolous.

297. On March 9, 2018, GARRASI filed and served a Notice of Cross Motion for
Summary Judgment, along with a supporting affidavit, sworn to March 6,

2018.

298. On or about March 27, 2018, using the mails or wire services, KOSSAR filed
and served TRUSTEE foreclosure plaintiff’s Affirmation in Opposition to
GARRASI’s Cross Motion for Summary Judgment, and in further support of

the TRUSTEE plaintiff’s motion for summary judgment.

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KOSSAR made his Affirmation in Opposition pursuant to CPLR Rule 2106,

and under penalties of perjury.

In KOSSAR’s affirmation, he falsely stated that the plaintiff had authenticated

its position with respect to the foreclosure action.

KOSSAR also falsely stated that plaintiff’s motion for summary judgment
was well supported by the foreclosure Complaint, affidavits and affirmations
attached to KOSSAR’s Affirmation in Opposition, as well as the requisite
supporting documentary evidence including the mortgage, note, and

evidence of default.

KOSSAR further falsely stated in his Affirmation in Opposition that on August
16, 2005, the Zebrowskis executed and delivered a Note and Mortgage to

foreclosure plaintiff TRUSTEE’s assignor. °

KOSSAR also signed the blue-backer, certifying under penalty of perjury that

the contentions contained in his affirmation were not frivolous.

At the time that he made the above referenced false statements, KOSSAR
knew them to be false, and made the false statements in order to further the

goals of the Zebrowski foreclosure Enterprise.

9 In the foreclosure action Plaintiff TRUSTEE’S assignor is claimed to be WELLS

FARGO. But as established herein, WELLS FARGO was never either the owner or holder of the
Zebrowski Note and Mortgage, SunTrust Mortgage was.

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305. On August 18, 2017, using the U.S. mails or wire services, KOSSAR filed and
served foreclosure plaintiff TRUSTEE’s Opposition to GARRASI’s motion to

have the Zebrowski note examined by an expert chosen by GARRASI.

306. In his affirmation in opposition, KOSSAR, under penalty of perjury, falsely
stated that the Zebrowski note was assigned to the foreclosure plaintiff

TRUSTEE.

307. On October 25, 2017, GARRAS]I filed and served a Motion to Compel
foreclosure TRUSTEE plaintiff to comply with certain discovery demands that .

GARRASI had made previously.

308. On December 12, 2017, KOSSAR, using the mails and/or wire services, filed
with the court and served upon GARRASI an Affirmation in Opposition to the

Motion to Compel, said affirmation being made under penalty of perjury.

309. In his affirmation, KOSSAR falsely claimed that the Zebrowski SunTrust note
and mortgage were ultimately assigned [by WELLS FARGO] to foreclosure

TRUSTEE plaintiff.

310. At the time the KOSSAR made those false statements under oath via his

affirmation, KOSSAR knew that the statements were false.

311. KOSSAR intended for plaintiff GARRASI and the court to justifiably rely upon

those false statements and misrepresentations.

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The court did justifiably rely upon KOSSAR’s false representations, expended

judicial resources unnecessarily, and was damaged thereby.

In contesting and opposing KOSSAR’s fraudulent representations, and in
order to protect his real property interests GARRASI, was compelled
unnecessarily to expend approximately $17,718.24 in legal fees paid to the
law firm of E. Stewart Jones, Hacker & Murphy, LLP, in defense of the

Enterprise foreclosure action and in preparation for trial. -

GARRASI was also compelled to expend funds for office supplies, motion

fees, postage, copying costs, etc.

It was not until GARRAS] served a subpoena duces tecum upon the original
lender SunTrust Mortgage, Inc. in 2019, and until SunTrust’s responded to
the subpoena, that GARRASI discovered that SunTrust had sold the
Zebrowski mortgage note not to WELLS FARGO Bank, N.A., but rather to

Freddie Mac in November 2005.

Contrary to KOSSAR’s false representation as stated above, WELLS FARGO
could not have lawfully sold, negotiated, transferred, or assigned the
Zebrowski Note to foreclosure plaintiff TRUSTEE in 2015, because WELLS

FARGO was never the owner of the Zebrowski Note.

And Defendant KOSSAR was fully aware of WELLS FARGO’s non-ownership of

the Zebrowski Note when KKM and KOMOSINSKI filed the Zebrowski

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foreclosure action on April 12, 2016, or KOSSAR knew about WELLS FARGO’s

non-ownership of the Note shortly thereafter.

And from the filing of the Zebrowski foreclosure action on April 12, 2016, -
until the time that the McGlinchey Stafford law firm was substituted in as
counsel for PLAINTIFF TRUSTEE, Defendants KKM, KOMOSINSKI, and/or
KOSSAR willfully, wantonly, knowingly, and intentionally concealed WELLS
FARGO’s fraudulent actions, and false material representations in the
Zebrowski Enterprise foreclosure action from GARRASI, the Zebrowskis, the

Saratoga County Clerk, and the foreclosure courts.

Defendant KOSSAR’s active and knowing participation in the Enterprise
scheme and artifice to defraud from 2016 to the time that KOSSAR left the
KKM firm in 2018, constituted a clear violation of not only 18 U.S.C. § 1961
et seq. but also constituted Judiciary Law § 487 fraud, entitling PLAINTIFF

herein to treble damages.

Using the mails or wire services, KOSSAR initiated and responded to
correspondence between himself, the court, and GARRASI related to the
Zebrowski Enterprise foreclosure action subsequent to April 12, 2016

through approximately the first half of 2018.

Since the Zebrowski Enterprise foreclosure action was unlawful, KOSSAR’s

knowing and active participation in the Enterprise’s prosecution of that

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action, using the mails and wire services, constituted a pattern of

racketeering and violated 18 U.S.C. § 1962 (a).

322. KOSSAR was engaged in actions that affect interstate commerce through a

pattern of racketeering activity, i.e., mail fraud and wire fraud.

323. KOSSAR maintained and interest in or was associated with both KKM and the

foreclosure action Enterprise.
324. KOSSAR thus violated 18 U.S.C. § 1962 (b).

325. The foreclosure Enterprise’s actions, through a pattern of racketeering

activity (mail fraud and wire fraud), affected interstate commerce.

326. KOSSAR was employed by or associated with the unlawful foreclosure

Enterprise.

327. KOSSAR participated, directly or indirectly, in the conduct of the Enterprise’s

affairs.
328. KOSSAR thus violated 18 U.S.C. § 1962 (c).

329. By conspiring with the other members of the Enterprise to violate 18 U.S.C.

§§ 1962 (a)-(c), KOSSAR violated 18 U.S.C. § 1962 (d).

330. KOSSAR is a natural person and exists independently of the racketeering

Enterprise.

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331. KOSSAR has committed two or more RICO predicate acts within the last 10

years, constituting a continuing pattern of racketeering.

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COUNT 2
FACTUAL ALLEGATIONS AGAINST

ATTORNEYS KOMOSINSKI AND KOSSAR
VIOLATION OF NEW YORK JUDICIARY LAW § 487 FRAUD

333. PLAINTIFF realleges all prior allegations of fact as if separately stated hereat.

334. New York Judiciary Law § 487 states that an attorney or counselor who is
guilty of any deceit or collusion, or consents to any deceit or collusion, with
intent to deceive the court or any party, violates New York Judiciary Law §

487.

335. An attorney or counselor who violates New York Judiciary Law § 487
commits a misdemeanor and is liable for treble damages to parties that

suffered damages as a result of the attorney or counselor’s actions.

336. Defendants KOMOSINSKI and KOSSAR’s active and knowing participation in
the racketeering Enterprise scheme and artifice to defraud as described

above and herein, constituted a clear violation of New York Judiciary Law §

487.

337. Onanumber of occasions identified above, Defendants KOMOSINSKI and
KOSSAR, using the mails and/or wire services, knowingly, willfully, and
wantonly filed and served fraudulent documents, forged instruments, and |

perjured certifications and affirmations with the county clerk, the

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foreclosure courts, the Zebrowskis, the Bank of New York Mellon, and upon

PLAINTIFF GARRASI.

Specifically, at all times relevant herein, KOMOSINSKI, and KOSSAR had in

their possession Zebrowski Notes Nos. 1, 2 & 3.

Defendants KOMOSINSKI and KOSSAR knew before the Enterprise
foreclosure action was commenced, or shortly thereafter, that as of October
31, 2012, when WELLS FARGO filed its proof of claim in the Zebrowski

bankruptcy case, that Zebrowski Notes 1 & 2 were not specifically indorsed

to WELLS FARGO.

Moreover, at all times relevant herein, KOMOSINSKI, and KOSSAR had in

their possession Zebrowski Notes Nos. 1, 2 & 3, and knew that when they

filed the Enterprise foreclosure action against the Zebrowskis on April 12,

2016, that Zebrowski Note # 3 had been fraudulently altered via a forged

indorsement stamp that falsely represented that SunTrust had specifically

indorsed Zebrowski Note # 3 to WELLS FARGO.

In fact, at all times relevant herein, Defendants KOMOSINSKI and KOSSAR
knew that SunTrust had sold the Zebrowski mortgage note to Freddie Mac in

2005, and not to WELLS FARGO years later.

Nevertheless, using the mails and/or wire services, the Defendants

KOMOSINSKI, and KOSSAR knowingly and intentionally submitted the

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fraudulent Zebrowski Note # 3 to the Saratoga County Clerk, to Judge

Chauvin, and by succession to Judge Nolan, thereby defrauding the county

clerk and the foreclosure courts.

Using the mails and/or wire services, the Defendants KOMOSINSKI, and
KOSSAR also knowingly and intentionally submitted the fraudulent

Zebrowski Note # 3 in papers served upon the foreclosure Defendants

Zebrowskis and GARRASI during and throughout the course of the still

pending Enterprise foreclosure action.

Judges Nolan and Chauvin, Defendants Zebrowski, GARRASI, and the
Saratoga County Clerk in the foreclosure action, justifiably relied upon the

fraudulent Zebrowski Note # 3, and the fraudulent mortgage assignment

that was an incident thereto, and were damaged as stated herein and above.

The actions of the Defendants KOMOSINSKI, and KOSSAR described above,
constituted a fraud upon the Nolan and Chauvin courts, the Zebrowskis, and
GARRASI, and were a serious violation of New York Judiciary Law § 487,

entitling PLAINTIFF GARRASI to treble damages.

Further, by filing these false and fraudulent papers with the Saratoga County
Clerk and the Nolan and Chauvin courts, Defendants KKM, KOMOSINSKI, and
KOSSAR willfully, wantonly, and intentionally violated the following New

York Penal Code Statutes:

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a. Penal Law § 175.30 Offering a false instrument for filing in the second

degree;
b. Penal Law § 115.00 Criminal facilitation in the fourth degree;
Cc. Penal Law § 210.10 Perjury in the second degree;

d. Penal Law § 210.35 Making an apparently sworn false statement in the

second degree;

e. Penal Law § 210.40 Making an apparently sworn false statement in the

first degree;

f. Penal Law § 210.45 Making a punishable false written statement.

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FEDERAL AND STATE STATUTES
VIOLATED BY THE RICO DEFENDANTS

The RICO Defendants acting in their Enterprise capacities have violated the

following Federal criminal statutes:

a. 18 U.S.C. § 4. Misprision of felony.

b. 18 U.S.C. § 152. Filing A False Proof of Claim in a Bankruptcy Case.
c. 18 U.S.C. § 493. Bonds And Obligations Of Certain Lending Agencies.
d. 18 U.S.C. § 513. Securities Of The States And Private Entities.

e. 18 U.S.C. § 1341. Mail Fraud.

f. 18 U.S.C. § 1343. Wire Fraud.

g. 18 U.S.C. § 1344. Bank Fraud (against Bank of NY Mellon, junior

mortgagee).
h. 18 U.S.C. § 2314. Transportation Of Stolen Goods, Securities ***.

i. 18 U.S.C § 2315. Sale Or Receipt Of Stolen Goods, Securities ***.

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The RICO Defendants acting in their Enterprise capacities also violated the

following New York State Penal Law statutes, all of which are felonies:
a. Penal Law § 170.10 Forgery In The Second Degree.

b. Penal Law § 170.25. Criminal Possession Of A Forged Instrument In

The Second Degree.

c. _ Penal Law § 175.35. Offering A False Instrument For Filing In The First

Degree.
d. Penal Law § 210.10. Perjury In The Second Degree.
e. Penal Law § 215.40. Tampering With Physical Evidence.

f. New York Penal Law § 460.20. Enterprise Corruption.

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WHEREFORE PLAINTIFF Robert Garrasi prays for the following relief from this
Court:

From each RICO Defendant an award of compensatory treble damages to be
determined and awarded by a jury.

From each RICO Defendant Punitive damages awarded by a jury against:

WELLS FARGO BANK N.A. — $100,000,000.00.
SELENE FINANCE, LP — $100,000,000.00.
WILMINGTON SAVINGS FUND SOCIETY, FSB —$100,000,000.00.

WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA TRUST, NOT
IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR BCAT 2015-
13ATT — $100,000,000.00.

BCAT 2015-13ATT — $100,000,000.00.

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. — $10,000,000.00.
KNUCKLES, KOMOSINSKI & MANFRO, LLP — $5,000,000.00.

RICHARD KOMOSINSKI, ESQ. — $1,000,000.00.

STUART KOSSAR, ESQ. — $350,000.00.

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From defendants KOMOSINSKI and KOSSAR, an award of treble compensatory
damages each as a punishment for their statutory Judiciary Law § 487 violations.

Dated: February 22, 2021

Robert Garrasi
7 Stablegate Drive
Clifton Park, NY 12065

E-mail: Bob.Garrasi@gmail.com
Tel. (518) 322-1779

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EXHIBIT

CERTIFIED TRUE ORIGINS

Loatt.Nos 0202775135

NOTE
MIN.,: 100010402021751395
August 16, 2005 , LATHAM New York
{Pate] iin} iState]
7 STABLEGATE DRIVE, CLIFTON PARK, NY 12065
[Property Addrexg]

i. * BORROWER'S PROMISE TO PAY

in return for @ loan that I have received, I promise to pay U.S. $ 312,000: G8 (this amount is called “Principal”), plus
interest, to the order of the Lender. The Lender'is SUNTRUST MORTGAGE, INC.. I will make-all payments under this
Note in the form of cash, check or money order. ,

T understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitled to receive payments under this Note is called the “Note Holder.” ”

2. INTEREST

Interest will be charged on unpaid otinsipel un until the full amount. of Principal bas been paid. 1 will pay interest at a
yeatly rate of 5.878 %.

The interest rate required by this Section 2 is the rate 1 will pay both: before and after any default described in
Section 6(8) of this Note.

2 PAYMENTS |

(A) Thuis aud Place of Payments

L will pay Principal and interest by making-2 payment every month,

i will make my monthly payment on the Ist day of each mouth beginning on October, 2005. 1 will make these
payments every month until 1 have paid all of the Principal and interest and any other charges described below that I may
owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. IZ on September 1, 2935, I stil owe amounts under this Note, I will pay those amounts in full on that
date, which is called the “Matwity Date”

J will make my wionthly payments at P.O. BOX 79641, BALTIMORE, MD 21279-0041 or at 4 different place if
required by the Note Holder,

(By Aniount of Montily Payments

My monthly payment will be in the amount of U.S. 5 1,945.60 .

4, BORROWER'S RIGET TG PREPAY

I have the right to make payments of Principal at any time before they’ are due.. A payment of Principal only is
known as:a “Prepayment.” When I make a Prepayment, I will tell the Note Holder in writing that 1am doing’se. I may not
designate a payment as a Prepayment if] have not made all.the monthly payments due under the. Note.

Il may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Halder will
use my Prepayments to-reduce the amount of Principal that lowe under this Note. However, the Note Holder may apply my
Prepayment to the accrued ard unpaid interest on the Prepayment amount, before applying my Prepayment to reduce: the
Prinvipal amount of the Note. If T make a partial Prepayment, there will be no changes in the due date of in the amount of my
monthly payment unless the Note Holder agrees in writing to those changes.

New York Fined Rute Notw—Bingle Femily-—Piaunle Mae/Srecdic Mee UNIDORM INSTRUMENT Porm. 3233 G1nit
~~ THE COMPLIANCE SOURCE, INC-~ Pagel of2 iceiny earn
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§. LOAN CHARGES

Ifa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (@) any such
joan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit, and (b) any sums already
collected from me which exceeded permitted limits will be refiimded to me. The Note Holder may choose to make this refimd
by reducing the Principal I owe under this Note or by making a direct payment fo me. If a refund reduces Principal, the
‘ceduction will be treated as a partial Prepayment,

& BORROWER'S FAILURE TO PAY AS REQUIRED
* (4) Late Charge for Overdue Payments
if the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days after
. the date itis due, I will pay a late charge to the Note Holder. The aniount of the charge will be 2.000 % of my overdue
payment of Priticipal and interest. I will pay this late charge promptly but caly once ¢ Of cack late payment,
(B) Default
If { do not pay the full amount of cach monthly payment on the date it is ave, I will be in default.
(C) Notice of Default
If Lam in default, the Note Holder may send me a written notice telling me that if 1 do not pay the overdue emount
by a certain date, the Note Holder may require mete pay immediately the full amount of Principal which has not been paid
and all the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is matled
to rac or delivered by other means.
{D) Ne Waiver By Note Holder
. Even if at a time when I am in. default, the Note Holder does not require: me to pay immediately in full as. described
above, the Note Holder will still have the right to de so if] am in default at a later time...
(2) Payment of Note Holder's Costs and Expenses
if the Note Holder has required me to pay immediately i in Gill as described above, the Note Holder will have the
right to be paid back by me for all of its costs and expenses.in enforcing this Note to the extent not tprobibied by applicable
law. Those expenses include, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES

Uniess applicable law requires 2 different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the
Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by
first class mail to the Note Holder at the address stated in. Section 3(A) above or ata differnet address if lam given a notice
of that different address,

&. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person. signs this Note, each person is filly and persiually obligated to keep all of the’ promises
suide in this Note, including the promise to pay’ the full amount owed. Any person who is a guarantor, surety or endorser of
this Note is also obligated to do these things. Any person, wha takes over these obligations, wmecluding the obligations ofa
guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder
may enforce its rights under this Note against each person individually or against all of us together. This means that any one
ofus may be required to pay ail of the amounts owed under this Note.

9. WAIVERS

"  Land.any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Halder to demand payment of amounts due. “Notice of Dishonor” means
the right to. require the Note Holder to give notice to other persons that amounts duc have not been paid.

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10. . UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given
to the Note Holder under this Note, a Mortgage, Deed of Trast, or Security Deed (the “Security Instrument”), dated the same
date as this Note, protects the Note Holder from possible losses which might result if I do not keep the promises which I
’ , thake in this'Note, ‘That Security Instrument describes how and undef what conditions I may be required to make immediate
payment in full ofall amounts I owe under this Note. Some of those conditions are described as follows:

Lender may require immediate payment in full of all Sums Secured by this Security Instrument if
all or ‘any part of the Property, or if any right in the Property, is sold or twansferred without Lender's prior
weitten permission. If Borrower is not a natural person and a beneficial interest in Borrower is sold or
twansferred without Lender's prior written permission, Lender also may require immediate payment in full.
However, this option shall not be exercised by Lender if such exercisé is prohibited by Applicable Law.

if Lender requires immediate payment in full under this Section 18, Lender will give me a notice
which states this requirement. The notice will give me at least 30 days to make the required payment. The

30-day period will begin on the date the notice is given: to me in the manner required by Section 15 of this
Security Instrument. If] do not make the required payment during that period, Lender may act to enforce
its Fights under this Security Instrument without giving me any further notice or demand for payment.

WITNESS THE HAND(S) AND SBAL(S) OF THE UNDERSIGNED,

(Seal) Vilincde C . Lhexigpn " (Seal)

“Borrower MELINDA A ZEBROWSKI “Borrower

(Seal) . . (Seal)

*  loxrourer . ~Borrower ‘

[Sige Griginal Only}
New York Fined Bate Note-Single Barndly~Pannle MnefKreddis Mac UNIFORM INSTRUMENT Fornt 33 Ona
ow COMPLIARCR Satmce, inc Pogo dats ‘ {MeINY BNO

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 72 of 135

EXHIBIT
Case 1:21-cv-00202-GLS-TWD Document 1 Filed 02/22/21 Page 73 of 135

Saale,
“Rand

‘SunTrust Bank
‘Subpoena Services
FL-ORL:7136

PO. Box 620577.
Orlando; Fl, 32862-0577
Fax'877-220-0403

RE: -ZEBROWSKI,. DAVID M/ ZBBROWSKL MELINDA.
§8-101734

& Enclosed, please find the bask documents and/or videosésponsive toithe subpoena.
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The: requested information 4 is. beyond thé: video: retention: ‘period for this branch/ ATM.
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Supret?

Seana de entities on the: SunTrust for ie Paella

‘This vequest has-been processed by SunTrust Bank Subpoena Sérvices Analyst Dane Riclian

Case 1:21-cv-00202-GLS-TWD Document 1. Filed 02/22/21 Page 74 of 135

Subpoena Services
‘FL-ORL-7136

‘PO: Box 620877
Orlando; FEL 32862-0879

RE» ZEBROWSKI, DAVID M/ ZESROWSKI, MELINDA.

CERTIFICATION ,

_ do:hereby certify under penalties and perjury that lam

the custodian: of records for SunTrust Bank and that the attached documents are (rue and
accurate copies of out business records, ‘maintained, and/or Prepare Pi our Foxman

of the matters set Su esaenabicnmain of those matters: The records were
made-and kept in the course of regularly:conducted business activity and itis a-regular

practice of our'company to make and: keep:such records.

De

j 7. / sig ignature

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 75 of 135

EXHIBIT C
Case 1:21:¢v-00202-GLS:TWD*Document 1 - Filed 02/22/21 “Page-7-6-of-138.--

SARATOGA COUNTY ~ STATE OF. NEW. YORK
‘KATHLEEN A; MARGHIONGE, SOUNTY CLERK
40. MCMASTER STREET, BALLSTON SPA,.NY.12020

COUNTY CLERK’S RECORDING PAGE |
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REGISTRATION SYSTEMS. AS NOMINEE FOR

LENDER.
Party2:

TNO. :. 2012211773050:

#: 3612028495
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pi ASSIGNMENT
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a MORTGAGE ELECTRONIC:

WELLS FARGO BANK

‘Record and Return To:

WELLS FARGO. BANK. NA
MAC: X9999-018

PO BOX 1629

MINNEAPOLIS: MN 55440- 8790

Recording:

Pages
Cover Sheet Fee
Recording Fee
Names

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Education Fee

Sub Total:

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$1.50

weee NOTICE: THIS IS NOT A BILL *#**
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 77 of 135

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sSceaeaee AND ASSIGNS at BOX'2026 FLINT MI 48501; 7004.
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Mat’. HOME CAMPUS, DES MOINES JA: 60498

EBROWSK) JOINTLY ‘Toi MORTGAGE ELECTRONIC,
ATS: SUCCESSORS AND

“VOORHEES ST STE C.,, DANVIL
“AggigneeWELLG FARGO BANK

Gxocuied By: DAVID M ZEBROWSRKI MELINDA
‘REGISTRATION. SYSTEMS, INC. iS NOMINEE FOR SUNTRUST MORTGAGE, ANG:

ASSIGNS
‘Dale bt Mortgage: 0816/2006: Recorded: “PARO/2008-in Boot Restliser-03010. BagerFotio: 00348:as:| instrument:

Noa RZ00E0886S Inthe Gaundy.of Saratoga, State of New York.
‘Property Address)? STABLEGATE DRIVE, GUFTON PARK, NY. 12065

Th is Assignmentis not subject (6 the requitements of Section 278 of he Real Property Law because it ls ant
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id Assignor. hereby’ grants: and coriveys ‘LNke: ihe sald Assignes,

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ors beneficial interest under the Mon

76 HAVEAND FOHOLD- the said. Mortgage. “anid the said: propaily: lilo the said Asignes forever, subject tothe
terme: Aisined in said Mortgage. IN WITNESS WHEREOE, the essignar hag: enocnted these presents the day anid

.year frel above Written: i

_ MORTGAGE ELECTRONIC REGISTRATION SYSTEMS: ING AS: NOMINES FOR: SUNTRUST. MORTGAGE,
UNCOREORATED, | iTS S SUCCESSORS AND ASSIGNS:

2 Assisiant

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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 78 of 135

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Case 1. 21- -CV-00202-GLS-TWD Document 1 Filed'02/22/21 Page 81 of 135

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Case 1:21-cv-00202:GLS-TWD Document1 Filed 02/22/21 Page 82 of 135
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“Right to Poreclostre Statement: Debtor executed a promissory note secired by a mortgage or deed of trust. The

‘promissory note-is dither made payable to Credit:

has been duly indorsed. Creditor, directly or through-an agent,

hus possession of the promissory note: .Creditor is the original mortgagee or beneficlary or ihe assignee af the

mortgage or deed of trust.
Case 1:21-cv-00202-GLS-TWD Document 1 Filed 02/22/21 Page 83 of 135

Case 12-11799-1-,_. Claim 19-2 Filed 10/31/12 Dest .,.ain Document

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PROOF OF CLAIM
ITEMIZATION FORM

CREDITOR: Wells Fargo Bank; NA:
LOAN NUMBER: $541

Page 6 of

DEBTORS: Dayid M. Zebrowski and Melinda A. Zebrowski a/k/a Melinda.A. Justiniano
BANKRUPTCY CASE: 12-11799 NDNY BANKRUPTCY COURT

FILING DATE: 6/29/2012
TOTAL CLAIM

PRINCIPAL BALANCE

INTEREST FROM 6/1/2012 THROUGH 6/29/2012
INTEREST RATE: 5.875%

‘TOTAL
ARREARAGE
ESCROW SHORTAGE
TOTAL

$278,095.60
$1,298:10

$279,393.70

$33:29:
$33.29
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 84 of 135

EXHIBIT E
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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 86 of 135

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DEFAULT ASSIGNMENT
WELLS FARGO BANK: NA; |
MAC: x0809-018 Hathiotn 8 Miron ii l

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‘Date of Agel nvients: duy’8t 12 cet ete haat abe
ASsigndr: MORTGAGE ELECTRO Cc REGISTRATION Svetins.

- MORTGAGE INCCRPORATED, ITS ICCESSORS AND ASSIG iG at BOX 2026 LNT. 48504, AS01,E.
be woe ‘NWOORHEES ST STE C.: ARVIE! aN

+ “Assigned: WELLS. FARGO BANICN

“Executed Oy DAVID M ZEBROWSIC MELINOA A 2earOWSt, JOINTLY Toi MORTGAGE: ELECTRONS
REGISTRATION SYSTEMS.ING.,.Ag

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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21" Pagé 88 of 135

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Deserip; ASSIGNMENT

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Partyl: MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS AS NOMINEE FOR
LENDER

Party2: WELLS FARGO BANK

Record and Return To:

WELLS FARGO BANK NA

MAC’ X9899-018

PO BOX 1629
MINNEAPOLIS MN 55446-9790

Case-12-11799-1-re. Claim i9-2 Filed 10/81/12 Desc....nDocument Page 33 of
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SARATOGA COUNTY ~ STATE OF NEW YORK
aoe KATHLEEN A, MARCHIONE, COUNTY CLERK
40 MEMASTER STREET, BALLSTON SPA, NY 12020.
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RECEIPT NO. : 2012211773050 . “
Sub. Total: S1v50

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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 89 of 135

EXHIBIT G
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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 91 of 135
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§. LOAN CHARGES

Tf a law, which applies to this loan and which sets maximum loan charges, is finally interpreted go that the interest or
other loan charges éollected or to be. collected in connection with this loan excced the permitted mits, then: (a) any such
loan charge shail be seduced by the amount wecessaty to reduce the charac to the permitted linnit; and (b) any gums already
collected from me which exceeded permitted limits will be refunded to me. ‘The Note Holder may chonse to make this refund
‘by reducing the Principal 1 owe under this Note or by making a direct payment to me. Ifa refund reduces Principal, the
‘reduction will be treated 2 asa partial Prepayment. .

6 BORROWER'S FAILURE 70 PAY AS REQUIRED 3

" (A) Late Charge for Overdue Payments ‘

ifthe Note Holder has not receivéd the full amount of any monthly payment by the end of 16 calendar. days after
the date it is due, T wilt pay @.late charge to the Note Holder. The.amount of the charge will be 2.000 % of my overdue
payment of Principal and interest. [ will pay this late. change promptly but onby once on each iste payment.

(3) Defaalk

if} do not pay the full arnound of each monthly payment on the date itis due, lL will be in default, |

{C) Notice of Default

if f am in default, the Note Holder may sead me 2 written notice telling me that if Ido not pay the overdue amount
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and all the interest that Lowe on that amount. Thai date must be at ieast 30 days after the cate on which thes notice is mailed
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(D) Ne Welver By Nate Holder

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(E) Payment of Nete Melder’s Costs.and Expenses

if the Note Holder bas required me to pay immediately: in full ag deseribed above, the Note Holder will have the
right to be’ paid back by me for all of ite costs and expenses in enforcing this Note to the extent not prohibited by applicable
law, Those expenses include, for example, reasonable atiomeys' fees, /
4 GIVING OF NOTICES

Unless applicable lew requires a different riethod, any notice thatmust be given to me under this Note will be given
by delivering tor by mailing it by first clase niall %@ meat the Property Address above or at & different address if | give the
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Any notice that must be giver io the Note Holder under this Note will be given by delivering it or by mailing. it by
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&. OBLIGATIONS OF PERSONS UNDER Tats NOTE

if more (han one person: signs this Nola, each person is fully arid personally obligated to keep all of the promises
made in this Note, inclading the promise to. pay the full amount owed, Any person who Is a guarantor, surety of endorser of
this. Note is also obligated to do these things, Asiy person who takes over these obligations, including the obligations ofa
guarantor, surety or éndorser of this Note, is also obligated tc keep all of the promises made in this Note. The Note Holder
may enforce its rights under this Note against each person individually of againgt all of'us together. This meuns that any one
of us may be required to pay all of the amounts owed onder this Note,

%.. WAIVERS

" Tand any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor,
“Presentment” means the right to require the Note Holder tp.demand payment of amounts due, “Notice of Dishonor’ means
the right to require the Note Holder to give notice to other persons diat amounts due have not been pau.

Wow York Find Bote Note-Glugle Fanly Panis bae/fredde Mer UNIFORM INSTRUMENT Baru 3233 OU
omni ES COMPLIANCE SOURDR, ING nm Poze 2 of 2 TMOINY RUD
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Case 1: 21- -CV- 00202- GLS- TWD Document 1 ine 02/22/21 Page 92 of 135
211 Fil 12.Dese Document... Page 13 of

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> Ellis, Vice President” a

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» NewYork Bived Rane i a Fi Fo Wald ie
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HORN ACSTRGNT

Case 1:21-cv-00202-GLS-TWD Document 1 Filed 02/22/21 Page 93 of 135

EXHIBIT H
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 94 of 135

x wee .
NOTE
August-16, 2005 LATHAM: "New Wari
{Date} » feiny . {State}

A. | BORROWER'S PROMISE TO PAY,

7 STABLEGATE DRIVE, CLIFTON PARK, NY-12065
*[Propersy dtiress

in return for a loan that I have received, I promise to pay U.S. $ 312,000.00 (this amount is called “Principat”), plus

‘interest, to:the order of the Lender. The Lender is SUNTRUST MORTGAGE, INC... Twill make all payments under this

Note in the form of cash, check or money order.
Londersiand’

t the Lender may transfer this Note. The: Lender or-anyone-who takes this Note by transfer and whe.

“ 8 eutifled to receive payments under, this Note is‘called the: "Note Holder.”

2, INTEREST oo.
interest willbe charged-on unpaid principal-until the full amount of Pridcipal has been paid. Twill pay interést ata
yearly rate of 5.878%: _¢ - “
The:thterest sate required by this Section 2 is the rate I will pay both before and after any default described in

_ Section, 6(B) of this Note.

3, PAY rs:

4A) Tiroe and Place ofPayments ts
Lwill pay Principal and interest by. making a payment every month:

.. _ will nake my tionthly payment on die Ast.day.of sech month beginning on “October, 2005: will make these
payments every month until | have paid all of the Principal end interest-and any other charges described below that I may

“owe under this Note. Each monthly payiment will-be applied as: of its scheduled due date and will be applied to interest

before: Principal. 1S. on September 1, 2035, Mstill owe amounts ander this Note, I will pay those amounts in All ow that
date, which is called the “Maturity Date" . SO .

. (will make my.mouthly payments at P.O. BOX 79041, BALTEMORE, MD 21279-0041 or ata different place if
required by the NoteHolder, . ° , ot

{B) Amount of Monthly Payments
‘My monthly payment will bein the amount of U.S, 8 1,845.60 ..

‘4. BORROWER'S RIGHT TO PREBAY

known as a “Prepayment.” ‘When I make-a Prepayment,

“T have the. right to make payments of Principat.at any time. beftire: they ‘are due. .A paymient‘of Principal-only is
will tell ‘the Note Holder i writing that Tam doing go. Fmay tiot

designate a payment'as:‘a Prepayment if T have not made all the monthly payments due under the Note. ~

imay make-a fall Prepayment or partial Prepayments without paying a'Prepayment charge. The Note Holder will

‘use my Prepayments to reducé the aniovat of Principal that I Owe under this Note: However, the Note ‘Holder. may apply my

Prepayment 6 the-accrued and unpaid interest‘on the Prepayment-amount, before applying my. Prepayment to reduce the

Principal amount of the Note. If! make partial Prepayment, there will be'no changes in the due date-or in the amount-of ny

monthly payment unless the Note Holder agrees in weititg to those chatiges.

‘Now York Fised Rute Nots-—Single Famsly-¥ onule Mae/taddie Mag UNIGORM INGERUMENT Foran 3253 01701
~The COMPLIANCE Source, INC Pape} ef3 “ypeeit °
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Case 1:21-cv-00202-GLS-TWD _, Document 1 Filed 02/22/21 Page 95 of 135
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,then:.(@) any sich
loan charge shall be reduced by the amount necessary to reduce the charge. to, the permitied dimit;-and (o) any sums already
Hollected from:me-which exceeded perenitted lithits will be reflinded:to me, The Note Holder may choose to make this refund
‘by reducing the Principal I owe under this Note.or by making a diréct payment to me. If a refund. reduces Principal, the,

the date itis due, I will pay a late chaige to the ‘Note Holder, . The amount of the charge:

payrrient of Principal and interest. 1 will pay this laik charge promptly but only once an cach late payment.

Hf Lam in defuilt, ‘the Note Holder may:setid me a-written notice telling me thatif'] do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the fill smount of Principal which bas not been paid
‘and all the interest that Towe on that amount] That date must be at least 30 days after the date on which the notice is mailed

"tome or delivered by other means, ‘ yO :

(D) No. Waiver By Note Holder . 3 .

Even if; at atime when [am in defsultpthe Note Holder does notrequire:me to pay immediately in full.as described
above, the Note Holder: will still bave the right todo so if Tam in-default at a later time... 1B

7B) Payment of Note Holder's Costs and Rapeuses. °
Afthe Note. Holder bas required me to:pay immediately in full as described above, the Note Holder will have the

right to be' paid back. by me for all of its costs. and expenses in enforcing this Note to the extent not prohibited by applicable:

Jaw. Those expenses incinde, for.examiple, reasonable attoracys’ fees:

7. GIVING OF NOTICES .

» Unless applicable law requires ¢ different’ method, any notice that must.be given.to:me, under this Note will be given.
by delivering it or by mailing it by first class mailto me‘at the Property Address above: or at.a different address if} give.the
Note Holder a notice of my different address, a
Any ntiée'that must be given te the Note Holder under this Note will be given by delivering it or by mailing it by
‘Sirst clegs mailto thie Note. Holder at the eddrese etated in Section 3(A) above-or ats different addeece if Lam ‘giver a notice

of that different addres:

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

Ifmore than one person.signs this Note, each person is fully and. personally obligated to keep all of thepromises:
made in this Note, ineluding the promise to ‘pay the full amount owed. Any person.who is a guarantor, surety or endorser of
this Note is-also. obligated to. do’ these things. . Aniy person who takes over these obligations, including the obligations of a
guarantor, surety ‘or endorser-of this Note, is also“obligated to-keep all of the promises made in this ‘Note. The Note’Holder.
may enforce’its rights under this Note against each person individually or against all of us together, This means that’ any one:

of'us may be required t6 pay all of the amounts owed under this Now, |
9. WAIVERS . | os , s So

” Tand any other person who has-obligations under this Note-waive the rights ‘Of Presentinent‘and Notice of Diehonor.
“Preset “nieans the right to require the Note Holder-to demand payment of amounts duc, “Notice of Dishonor” means
ihe right to require the Note Holder to give. notice to other persons ‘that amounts dut have not been paid, ,

~ New York Flied Hate Note Single Family uaule Mad Bradiie has UNIFORAT INSTRUMENT Form 3233 01/01
Ene ComPitancs Sounck, inc Bege2 ofS. ‘eattad oan0-
* Weeren cienaliavercheree oom . . : :

62000, Te Conptnnes Sousa; Ins,

; Case 1:21;cv-00202-GLS-TWD Document 1 Filed 02/22/21 Page 96 of 135

the

ad

10. . UNIFORM SECURED NOTE a . .
__ This Noté is a uhiform instrument with limited variations in ‘some jurisdictions, In addition to the protections given
« to the Note Holder under this Note, a Mortgage, Deed'of Tmst, or Security Deed (the “Seourliy Instniment®); dated the same.
‘date as this Note, protects the Note Holder -frotn possible losses which. might result if Ido not ‘keep the promises which t
 . thake in this‘Note. That Security Instrument describes how and under what conditions I may be required to.make immediate

payment in full of ail amounts’ Lowe under this'Note, Some of those conditions are described as fellows:

Lender may require immediate payment infull of all Sums Secured by this Security Instrument if
all or any part of the Property,.or if any fight inthe Property, is sold or transferred without Lendet’s prior. *
‘wiitten permission. If Borrower is not 4 natural ‘person anda beneficial interest in: Borrower is ‘sold: 6
transferred without Lender's pilor written, permission, Lender also may require immediate paymentiin full.-
‘However, this option shall nat be exerciged by Lender if such exercise is prohibited by Applicable Law;

If Lender requires immediate payment in‘full under this Section 18, Lender will give me a notice: -
“which states this reqnirement. The notice will give me at least 30. days to.make the required payment.. The
30-day period will begin on the date the notice is given to mé.ia'the manner required by Section 15 of this
Security Instrument. [f do not make’ the required payment during that period, Lender thay act to.enforee:

dts rights under this Security Instrument. without giving me:any firthér notice or demand for payment.

WITNESS THE HANDS) AND SBAL(S) OF THE UNDERSIGNED.

“MELINDA & ZEBROWSEEKI Botrower
_ (Seal) =. Gealy.
Borrower ~ * : sBorower.

(Sten Origtict Only).

Without’ Recourse
a PAY TO THE ORDER OF
WITHOUT RECOURSE . WELLS:FARGO BANK, NA.
PAY TO THE ORDER OF

WELLS FARGO BANIC NA.

3 Suntrust Mortgage, Inc.

SE

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DOCUMENTANON
“New Vorls Fixed Rote Note—Single Family--Bannls Maw Freddie Mac UNISGRM INSTRUMENT ~ “ Form 3233-0101
Tne Compliance Sounce, Ine, Page 3 of 3. ~ :

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EXHIBIT |
case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 98 of 135

SARATOGA COUNTY ~ STATE OF NEW YORK
SARATOGA COUNTY CLERK
CRAIG. HAYNER,
40 MCMASTER STREET, BALLSTON SPA, NY 12020

GOUNTY CLERK'S REGORDING PAGE
*“THIS PAGE IS PART OF THE DOCUMENT — DO-NOT DETACH™

Recording:
Pages 15.00
Cover Sheet Fee 5.00
Recording Fee 20.00
‘Cultural Ed 14.25
Records Management ~- Coun 1.00
a Records Management. ~- Stat 4.75
INSTRUMENT: #: 2015019773 Names 9.006
‘Receipt#: 2015211982609 i
Clerk: Total: 60.00
‘Rec Date: 67/08/2015 09:58:29 AM “#*% NOTICE: THIS IS NOT A BILL ****
Doc Grp: R
Descrip: POWER OF ATTORNEY
Num Pgs: =

Partyi: WELLS FARGO BANK.
Party2: SELENE FINANCE LP

Record and Return To:

ELECTRONICALLY RECORDED BY SIMPLIFILE
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 99 of 135

 (SOTSTSTTS
07/08/2015 08:88:25 AM.
4 Pages: RECORDED

POWER-OF ATTORNEY
Saratoga County Clark

FORM OF LIMITED POWER OF ATTORNEY

KNOW ALL PERSONS BY THESE PRESENTS:

THAT, WELLS FARGO BANK, N.A. (“Company’), by these presents does: -hereby make, coristitute and
appoint Selene Finance LP, @ limited parinership (‘Servicer’), :Companiy’s true and lawful attorney-in-fact;
and hereby grants it: authority and power to take, through its duly authorized officers, the Actions (as such
terms defined herein) in Company’ snamé, placeand stead. This limited power of attorney (‘Limited
Power of Attorney") is given in connection with, and relates solely to that certain Partial Cancellation of
‘Servicing Rights Contract dated as of February 17, 3015 by and between Federal Home Loan Mortgage
‘Corporation and the Company, and those certain Interim Servicing Agreements dated May 14, 2015
and May15,2015, respectively, by and belwéen GCAT Management Seivicés 2015-13 LLC. andthe
-Company, undef the terms of which Company transferred the servicing: rights-to.certain morigage joans
‘(such loans, the “Loans”). Eaclof the Loans comprises a promissory note evidencing ‘a right to:
payment and performance secured ‘by asecurity: interest or other lien on real property: evidenced by
cone or more.morigages, deeds of trust, deeds to-secure debt'or other forms:of security instruments.
(each,:a “Morigage"). The parties agree: that-this Limited Power of, Attorney is coupled: with an

. interest:

As.used above, the, term “Actions” ‘shall meanand be. limited tothe following acts, in.each case only.
with respect io-one.or another of the Loans and only as. mandated or permitted by federal, state-or local

laws or other legal requirements or restrictions:.

{. Exesiste or fileassignments of mortgages; or of any beneficial interest in a Mortgage;

2.. Execute or filéreconveyancés; deéds of réconveyanoe orréleases or satisfactions of
morigage or similar insirumenis releasing the lien of a Mortgage;

3. Corrector otherwise remedy any errors-or deficiencies contained in any. transfer or
feconveyance documents provided’or. prepared by Company or a prior transferor; including,
but nof limited to note indorsements;

4. Indorsé all checks, drafts and/or ofher negotiable. instruments made payable to Company, as
payments by borrowers in. connection with the Loans;

5. Execute or file quitclaim deeds or, only where necessary and appropriate; special warranty
deeds-or other.deeds causing the transfer.oftitie'to a third: ‘party, inrespect.of properly —
acquired through a foreclosure or déed-in-lieui of foreclosure (CREO Property’).

6. Execute and deliver documentation with respect tothe marketing and sale of REO Property;
including, without limitation: Jistirig agreements; purchase’ and sale: agreements; escrow
instructions; séttlement siatements; and’ any other document necessary to effect.the trarisfer

of REO Property:

Tex ‘Execute: or file any-documents necessary. and: appropriate: to substitute the. ereditor: or
foreclosing: party i in a-bankrupicy or foreclosure: proceeding | in respect of any of the Loans:

With respect fo the-Actions, Company gives:te said’ -attorney+i infact’ full: ‘power and authority is-execute
such instruments:and:-to-do and perform all and’ every actand. Ahing requisite, nécessary and proper to.
carry into effect the” power or powers: granted: ‘by orunder this Limited Power of Altorney és ful ly, to all
‘intents and ‘purposes, as the undersigned, might or could do, and hereby. does ratify and confirm all: that
said attorney-in-fact’shall lawiilly do-dr cause to be: doné by authority hérect:

This Limited Power.of Attorney is entered into. and shall be govemed by the laws of the State-of New:
York without regard to conflicts of law principles of such state and is valid only through Novernber 10,
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 100 of 135

2015 unless:cancelled prior to said date if in the Company's sole. discretion, the Servicer acts. outside of
the Actions. permitted. above.or in-any way misuses this. Power of: Atiomey.

‘Senter hereby agrees fo lndemnity and hold the Compary, and its directors, officers, employees. and

judgments, Suits, costs, experises: of M cbureerrents of any kind of nature whatsoever incurred by reason
or result-of the: misuse of this‘ Limitéd Power of Attorney by the Servicer.. The foregoing indemnity shall.

-gurvive the termination of this. Limited Power of Attorney.

[Remainder of page intentionally left blaniq
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 101 of 135

IN WITNESS WHEREOF, the undersigned has executed this Limited Power of Attorney this day;
june10, 2045:

v:
Name: Gretel Meier
Title: Vice President

rie Aj ice. President

STATE OF MINNESOTA. .
: SS:
HENNEPIN COUNTY ~

On this day, June 10,2045, before’ me, the undersigned, personally appeared Gretel Meier and John
Chozen, personally: ‘known to me or. proved to me oh the basis of: satisfactory evidence to be-the
individuals whose names are subscribed tothe within instrument and acknowledged to me. that the
individuals executed the same in their capacity,.and that said instrument. was executed on behalf of said.
corporation.

ay Pane | = . .
My commission expires: January 31,2077.

4

‘MATTHEW JOSEPH BEUMER
NOTARY. PUBLIC-MINNEGOTA.
My Commission Exeires Jan. 31, 2047

_ Comnininginy HM0i9742.

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EXHIBIT J
. ease 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 103 of 135

SARATOGA COUNTY =~
SARATOGA COUNTY CLERK
CRAIG A. HAYNER
40 MCMASTER STREET, BALLSTON SPA, NY 12020

STATE OF NEW YORK

COUNTY CLERK’S RECORDING PAGE
“THIS PAGE is PART OF THE DOCUMENT — DO NOT DETACH

INSTRUMENT #2 2015028496

Receipt#: 2015211997305
clerk:
Rec Date: 69/23/2045 01:31:33 PM

Doc Grp: .R. .
Descrip: ASSIGNMENT OF. MORTGAGE

Num Pgs: 5

Partyl: WELLS. FARGO BANK BY ATTY.
Party2? “SUNTRUST MORTGAGE INC

‘Record Jand Return To:

Récording:

Pages 20.00
cover Sheet Fee 5.00
Recording Fee 20.00
cultural Ed 14.25
Records ‘Management - Coun 1.00
Records Management - stat 4.75
Names 1.50
Markoffs 0.50
Total: , 67.00

*##*s NOTICE: THIS IS NOT A BILL ****

ELECTRONICALLY RECORDED 6Y SIMPLIFILE
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 104 of 135

fZ615028496_
99/23/2015 “OT: 31:33: PM
& Pages RECORDED

ASSIGNMENT OF MORTGAGE
Saratoga County Clerk
Loan Nuriber:, 1503103520
Servicer ID: 848895,
After Recording Return To:

Avenue 365 Lender Services
401 Plymouth Road, Ste 550
Plymouth Meeting, PA19462

ASSIGNMENT OF MORTGAGE
For valuable.consideration paid; WELLS FARGO BANK, N.A., whose address is 1 Home Campus,

‘Des Moines, Iowa 50328 the holder of the mortgage described as follows:

That certain mortgage described as follows: made by DAVID M. ZEBROWSKI AND

‘MELINDA A. ZEBROWSKI JOINTLY to “Mortgage. Electronic Registration System, inc.,
_solely-as nominee for SUNTRUST MORTGAGE INC-in the amount of $312,000.00, dated

8/16/2005, recorded on 8/29/2005, at: BOOK: 3919, ‘PAGE: 345, INSTRUMENT NO.
200606868, relating to that property commonly knowin'as:7: STABLEGATE DR, CLIFTON
PARK, NY 12065, in the county of SARATOGA and described as parcel ntimber Section:

‘278.47 Block: 4 Loti6.

“Which isa lien on the veal property. deséribed below in Exhibit A, attached hereto, does hereby convey, grant,
-sell, assign, iransfer and set over the described mortgage together with all interest secured thereby, allliens.and
any rights due-or to: become: due thereoti ‘to. Wilmington Savings Fund Society, FSB, doing Business .as

Christiana Trust, not in its individual capacity, but solely as trustee for BCAT 2015-13ATT whose.
mailing: address 38: 500: ‘Delaware. Aventie,. Lith. Floor, W ilmington, Delaware 19801.

‘Chain of Assigntnents:relating to the above desoribed’mortzage see Exhibie B, attached hereto:

This Assignment is not subject to the requirements of Section: 275 of the Real Property Law because itis an
assignment within the secondary morigage market.
L
Property Address: 7 STABLEGATE DR., CLIFTON PARK, NY 12065.

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 105 of 135

By: 396 feo]
Its: Aisi ‘ice President

*Pov iL of Attomey recorded, in the Official Records of Saratoga. County, New York as. Instrument. No.
2015019773,

STATE OF TEXAS,
COUNTY OF HARRIS:

(Complete Venue with State, Country, Provinee-or Municipality:

‘On the. oF day of» wp: CA LIUCA jin the: year 2015, before me, the undersigned, personally. appeared
Joe Javet itw-Assistant Vice President, on behalfof WELLS FARGO.BANK, N.A. By: Selene Finance.
LP, its attorney-in-fact, ‘personally known to me‘or proved. tothe di the basis.of satisfactory eviderice to be the.
individual(s) whose names(s) is (are): subscribed to ‘the within instrumént‘and acknowledged ‘to -me-that
he/she/they ¢ executed the same in his/her/their. capacity(ies), that by his/her/their signature(s) on the instrument,
the: individual(s), or ‘the person upon: behalf of which the individual(s) acted, executed the instrament, ‘and that:
individ ual _.such appearance before: ‘the undersigned inthe
i fo “EtAS ~ (Insert the City orother political subdivision and the State or

(nk

Signature of Notary, Public.

jaimee.cook
My cotunission expires:
‘1/30/2016

This instrument prepared by: Jz ay ‘Rosenberg, Esq.,.and.reviewed by Ross M. Rosenberg; Esq.,
Rosenberg LPA, Attorneys At. Law, 3805. Edwards Road, Suite: 550, Cincinnati, Ohio 48209,
(513) 247-9605.

Property Address: 7STABESGATE DR., CLIFTON PARK, NY 12063

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 106 of 135
Do

EXHIBITS
(CHAIN OF ASSIGNMENTS)

4
Property Address: 7 STABLEGATE DR., CLIFTON PARK, NY-12065,
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 107 of 135

EXHIBIT K
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 108 of 1Bage 1 of 3

PACKAGE INFORMATION ENCLOSED

DATE: 1/14/2016 8:27:32 AM

Package Summary:

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gee Collateral File” 0 “REA.
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10/31/2019
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Case 1:21-cv-00202-GLS-TWD Document 1 Filed 02/22/21 Page 110 of 138,564

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Date:

\ Plgnsé fax’sigied aeknoWledgedmant tor: : . ceca assy

Sincerely;

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ENE IE LURING ARPES ASAE A ATR RN Ra rae St EY

_‘htip:/sara.selenefinance-com/secti

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 111 of 135

EXHIBIT L
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 112 of 133 ige-1 of 1

PACKAGE INFORMATION ENCLOSED
DATE: 10/26/2018 3:45:17 PM

Package Summary:

Carrier ‘Tracking Tracking, Front To
Name Number Direction “
castew pat pee ani Custodian ~ Wells Selene
Fedex S631 15216083 incoming Faves Houston.

Package-Content:

Created By

_ Lenise
Dumas(§).

Tuyestor Loan: Old. dese = Donwuent Pype- Task Id

From and To

Coan Number Borrower Anvestor
‘ “ ~ : Number hhaniber:
cea y Collateral File o. MEA.
Collateral File 7 ap NEA
BROS DAVID M = BC AT 21S. iothuterat Pile a MA
(Selene). ZEBROWSKI A3ATT
. (2G19-5) “s
“tis a Collateral File e Nia
y Coliggtel Fle NAR
Collateral File 6 "NPA,
se Collateral File Ye NIX
| Galler File é NIA

Acknowledgemient of receipt for the documents listed above:

Dater:
Please fax signed atknowledgedment to: $66.929-4551
Sincerely,

COLLATERAL MANAGEMENT DEPT

http://sara.selenefinance.com/section/documents/PrintContent.aspx ?pid=45348

10/31/2019
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 113 of 135

EXHIBIT M
Case 1:21-cv-00202-GLS-TWD Document 1

Filed 02/22/21 Page 114 of 135

A COUNTY - STATE OF New YORK

SARATOGA COUNTY CLERK
CRAIG A. HAYNER

46 MCMASTER STREET, BALLSTON SPA, NV-12020

COUNTY CLERK'S: RECORDING PAGE
“THIS: PAGE IS PART OF THE DOCUMENT ~ 00 NOT DETACH™*

INSTRUMENT #: 2020009051

Receiptt: 2 2020212321398

clerk:

Ree Date: 04/09/2020 11239235 AM
Doc Grp:

Descrip: Bower. OF ATTORNEY

Nut Pgs: 8

Partyl: WILMINGTON SAVINGS FUND SOCIETY

AS TRUSTEE:
Party2: SELENE FINANCE LP

Record and Return To:

ELECTRONICALLY RECORDED BY CSC INGEO

Recording:

Pages 35.00
Cover ‘Sheet. Fee 5,00
Recording, Fee 20.00
cultural Ed 14.25
Records Management ~ Coun 1.00
Records Management - Stat 4075
Names 1.60
Total: 81.00

*e## NOTICES THIS IS NOT A- BILL ****

~ /barl J0L0

This page constitutes the Clerk's
endorsement; required ‘by section
316-a (5) & 3190! the Real Property
Law of the State of New York with a
stamped signature underneath.

Saratoga Courty Clerk
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 115 of 135

2020009051

04/08/2020 11:30:35 AM
Pages . RECORDED

‘POWER OF ATTORNEY
Saratoga County Clerk

Space above this line for recorder’s,Use,Only

Title of Document: LIMITED POWER. OF ATTORNEY

GRANTOR:

WILMINGTON: SAVINGS FUND SOCIETY , FSB D/B/A CHRISTIANA TRUST , NOT INDIVIDUALLY BUT
AS TRUSTEE FOR: BCAT 2015-13ATT

C/O

SELENE FINANCE LP

9990 RICHMOND AVENUE SUITE-400'S

HOUSTON; TX 77042

SELENE FINANCE LP
9990- RICHMOND AVENUE SUITE.400-S

HOUSTON, TX 77042

Return to:
Brown & Associates
&. Brown

2316 Southmore
Pasadena, TX 77502
713-941-4928'
ER XXX-XX-XXXX

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 116 of 135

20450492134.
09/22/2015 ER- $32.00

« DOCUMENT DRAFTED BY AND.

RECORD AND RETURN TO:

Selene Fingave LP

8201 Cypress Plaza Drive

Jacksonville, FL 32256

' SPACE ABOVE THIS LINE FOR RECORDER’S USE.

LIMITED POWER OF ATTORNEY.

BCAT 2015-13ATT having an office at 500 Delaware Avenue, 11" Floor, Wilmington, Delaware
19801 (“Ovner”), hereby constitutes and appoints Selene Finance LP having an office at 9990
Richmond. Avenne, Suite 400, Houston, Texas TI042 (“Servicer”), and in its name, aforesaid
Attomey-In-Fact, by and: through any ‘avthorized representative appointed by the. Board.-of
Directors. of Servicér, to executs and: ackrowledge ix writing or by facsimile stamp all documents
customarily and reasonably siécessary and appropriate: for the tasks described, in ‘the: items
(1) through (12) below, provided. however, that the documents described below may only be
executed and delivered by such Attomeéys-In-Fact if. such decuments:are. required: orpermitted
under the terms of the Flow Servicing Agreement (the “Agreement”) dated May 14, 2015, by and
between Over and Servicer, and no power is granted hereunder to take any action thai would be

adverse to the interests of Owner. This Limited Power of Attomey is: being issued in connection:

with Servicer’s responsibilities to service. certain morigage loans (the “Loans”) and. REO-
properties: (REO Properties”) owned by Owner, These Loans are comprised of Mortgages, Deeds

of Trust, Deeds to Secure Debt. and other forms of Security instruments. (Collectively: the “Security:

Tostraments”). andthe Mortgage: Notes: secured thereby.

This Appoitiment: shall apply only to the following‘enumerated trangactions and nothing herein or
inthe Agreement shall be construed to the'contrary:

i, The modification or re-recording of. a Mortgage or Deed of Trust, where said
modification or te-recording is solely for the Purpose of correcting the Mortgage or
Deed: of Trust to:conform same tn the, original intent. of the parties thereto: orto
correct title errors discovered after such title j igsurance was issued; provided ‘that
@) said modification or reecording: in either instance, does not advetsely affect
the lien of the Mortgage or Deed of Trust as insured and (ii) otherwise conforms to
thé provisions of the Apreement*

2. ‘The subordination 'of the Ben of a, Mortgage - or Deed of Trust to an. eastment: in:
favor of a public utility company of a goVernment.egency or init with powers. of.
eminent domain; this section. shail include, without limitation, the execution of
partial. satisfactione/releases; pattial revouveyances of the-execution or- requests ‘io:
trustees to accomplish same}.

1EE.
ER XXX-XX-XXXX

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The conveyance of the properties to the mortgage insurer, or the closing of the title:
to the property to be acquired as real ‘estate’ owned, or conveyance of tide to real
estate owned.

The'completion of loan assumption agreements.

‘The full satisfaction/télesse’of a Mortgage or Deed of Trust or ‘full conveyance

upon payment and discharge of all.sums secured thereby, including, without

limitation, cancellation of the related Mortgage Note.

The assignment.of any Mortgage or Deed of Trust and the related Morigage Note,
in. connection with the repurchase of the mortgage loan secured. and evidenced

thereby.

The: full assignment of 2 Mortgage or Deed of Trost upon payment ‘and discharge
of all sums secured thereby i in. conjunction with thé refinancing thereof, including,

without: lithitation,. the assignment of the related. ‘Mortgage Note.
With respect to a Mortgage or Deed of Trust, the foreclosure, the taking of a.deed

in lie of forectosure, evicting (to-the extent allowed by federal, state or local laws),
or the completion -of judicial or non-j judicial foreclosure.or termination, cancellation

or rescission of any such foreclosure, : inchading, without limitation, any and all of

‘the following acts:

a the substitution of trustee(s) serving: sinder a Deed of Trust, in ‘accordance
with.state law ‘and the Deed of Trust; ”

db. the preparation ‘and issuance of statements of breach or non-performance;

C. the preparation and filing of notives of default and/or notices of sale;
d. _ the-cancellation/rescission of notices of default and/or noticés of sale;
e. the taking.of deed in lieu of foreclosure; ahd ~~

£ the preparation andexecution.of such: other documents and performance of
such. other actions as:may be necessary under the.terms. of the: Mortgage,
Deed of Trust of state law to expeditiously complete said transactions in.
paragraphs. 8. (a) through 8.(e) above.

With respect to the sale of property acquired through a foreclosure or deed-in lieu
of foreclosure; including, without limitation, the execution of the following

documentation:
a listing agreements;
“b. purchase and sale. agreements;
ER XXX-XX-XXXX

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 118 of 135

c. grant/warranty/quit claim deeiis or any other deed causing the transfer of
title of the property to a party contracted to purchase same:

a ‘escrow instructions, and.
6. any and all documents necessary to effect the transfer of property.

10. The modification oramendment of escrow agreements established for repairs. to the
mortgaged: property or reserves for replacement of personal. property.

lL. .All documents and instruments necessary in the appearance and prosecution of suits
for possession and wilawfidl detainer, and eviction actions seeking; without.
limitation, possession of any’ real property acquired through foreclosure. and any:
and all related: darnages. .

12. All documents’ and instrament’: necessary in the appearance; prosecution’and
defending -of bankruptcy proceedings; instruthents’ appointing. one or more
substitute ‘trustees. or: special purpose: entities. ({SPECs”) to act in: place of the
corresponding entity named in any deed of trust.

The. undetsigned gives said Attomey-in-Fact £ full power and authority to execute.such instruments
and to do.and perform: all-and every act. and thing necessary and proper to carry into effect the
power or powers granted by or under this Limited Power of Attomey as fully as the undersigned

might or. could do.

This ‘appointment is to be constmed’ and interpreted-as a Limited Power of Atiomey. ‘The
éiimeration of specific items, tights, acts or powers herein is not intended to, nor does it give rise
to, andit is not to be construed as'a general power of attomey.

Nothing ‘contained herein: shall. @. lirnit' 3 ii any mariner any indemnification provided by the
Servicer to. Ovener under the. Agreement;: or Gi) be construed to-grant-the Servicer the power to
initiate or defend any suit, litigation or proceeding in the name of Owner, except as specifically
provided ‘for herein or in the Agreement. If the Servicer receives any notice of suit, difigation or,
proceeding i in the name of. Owner then the Servicer. shall-promptly forward a copy of same-to the
Owner-.

This Limited Powerof Attomey‘is. nwotintended. to extend the:powers granted to the Servicer under
the: Agreement or toallow the Servicer to-take any action with respect 16 Mortgages, Deeds of
Trast:or Mortgage Notes not authorized bythe Agreement.

The Servicer hereby aprees to inderanify and hold the Owner and its directors, officers, employees.

and agents harmless from and agairist any and all liabilities, obligations, losses, dainages, penalties,
-actions,. judgmenis,. suits, costs, expenses. OF disbursenients of any kind or nature whatsoever

inoired by reason or result of or in connection with the misuse by Servicer -of this Limited Power
of Attorney. The foregoing indemnity shall survive the termination of this Limitéd Power of
Attomey and the Agreement: or the sarlice resigiation or temmination of ‘Servicer under the:

Agreement
ER:XXX-XX-XXXX

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 119 of 135

‘Third patties without actual notice:may rely upon the exercise of.the power granted under this.
‘Limited Power of Attorney; and may be satisfied that this Limited Power. of Attomey. shall
continue in fall force and effect and has not béen revoked unless an instrament of revocation has
‘been made in writing by the undersigned.
ER XXX-XX-XXXX

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 120 of 135

Witness. my. hand arid seal this 13° day of May, 2015.
-NO-CORPORATE SEAL

By, WILMINGTON SAVINGS FUND
SOCIETY, FSB, d/b/s CHRISTIANA TRUST,

not in. ity: individual capacity but solely as

Trustee for BCAT 2015-13ATT

py Lo hae

Name: Jeffrey R. Everhart
Title: Assistant Vice. President:

Attest: “Cednie Strother, Trust Officer

CORPORATE ACKNOWLEDGMENT
State of Delaware
County:of New-Castle

On this 13” day-of May,.2015,, before:me, the widersigned, a Notary Public in: and for: said
County and State, personally appeared Jeffrey R. Everhart, personally known, to me (or proved to
me on the ‘basis ofsatisfactory evidence) to be the persons who executed the:-within instriment'as
Assistant Vice President, respectively of, BCAT 2015-13ATT, and acknowledged to me that such
national barking association executed the within instrument pursuant to its by-laws ora
resolution of its Board of Directors.

WITNESS my hand’and official seal.

sionatre: A fe Leacorlnurbh
(7 is cette
an ‘Document. drafted by

My. ese pres ne
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15775443256 [Signature Page Pod ~ Servicii Bo-sodoiaad

Agreement]

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ER XXX-XX-XXXX

Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 121 of 135

20150432134

@ Pages 6

09/28/2015 01624 ew
e-Piled &dé-Recorded in the
Official Public Records ‘of
HARRIS COUNTY

STAN -STANART

COUNTS CLERK

Fees $32.00.

at ‘the’ time the instrument was flied and: recorded.

Buy provision herein which réstricts the sale, rental, om

‘ase f, the described real “property because of" color of

race is invalid and unenforceable’ under federal law.
Toe SeR TE OF TEXAS " °

COUNTY OF HARRIS. 0 Z . .

I hexeby carctify thatthis instrument was. FILED. in ng
File Number. seqheanca on the date and at. @ time stamped
hereon by me; and wae duly RECORDED in "tha Offidlaio”~
Public Records of Real Property. of Harxis. County, Texas.

Ste Shenk
COUNTY CLERK
HARRIS COUNTY, TEXAS.

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EXHIBIT N
Case 1:21-cv-00202-GLS-TWD Document 1. Filed 02/22/21 Page 123 of 135

}

wet

‘ ORIGIN ID:NQIA (713) 625-2084 SHIP DATE: 290CT18

~ — RENSTEELS Sa Saino
2 9990 RICHMOND AVE #400

ws HOUSTON, TX 77042 BILL SENDER °

As UNITED STATES US

TO COLLATERAL FC

KNUCKLES KOMOSINSKI & MANFRO, LLP 2
565 TAXTER RD 5
SUITE 590 5
ELMSFORD NY 10523 8

iw 345-3020 X 327 REF: NOT 0D ‘

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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 124 of 135

RE: Bailment Letter for: SELENE FINANCE, LP

Selene Loan Number e595

Borrower: DAVID M ZEBROWSKI

Address: 7 STABLEGATE DR

Attorney Name: Knuckles, Komosinski & Manfro, LLP NY
Attorney Address: 565 Taxter Rd, Ste 590. Elmsford, NY, 10523

Knuckles, Komosinski & Manfro, LLP NY: {("Bailee”) has been retained by SELENE FINANCE, LP in connection with litigation
proceedings relating to the loan listed above. Bailee has possession and/or control of the following original documents:

Note | Original .

Endorsement | Original | Suntrust Mortgage Inc to Wells Fargo Bank, N.A. "
Endorsement | Original | Wells Fargo Bank, N.A. to Blank

Security Instrument | Original | Recorded

Bailee understands that it is acting as agent, baifee and custodian for the benefit of owner in accordance in prudent and
customary practices. Ballee agrees that upon SELENE FINANCE LP’s confirmation of receipt of funds from purchaser,
bailee shali continue to maintain possession and control of the loan documents, as agent, bailee and custodian for the
benefit of purchaser, subject to purchaser’s complete contral, in accordance with prudent and customary practices.

As these are original documents In which are needed to complete the foreclosure process, we require that you sign and
date the attached copy and fax back as soon as possible. Upon receipt of any original unrecorded assignments, please
forward the assignments to the county for recording.

In any event in which the assiznment {s) or any of the attached ‘original document(s) are no longer needed, itis
imperative that the document get returned back to Selene Finance LP, attn: Foreclosure Department at 9990 Richmond,
Suite 4005, Houston, TX 77042.

Sincerely, , ‘
COLLATERAL MBNAG iT DEPT
on) Y

Signature

Couard Osibo

he EGHL

Title

WNWY3ZYI RAO ws

Phone Number

ee eee ee on

http://sara.selenefinance.com/section/documents/Baileeletter.aspx?FID=40068 10/29/2018
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 125 of 135

EXHIBIT O
Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 126 of 135

TT Knuckles Komosinski & Manfro tip

565 Taxter Road, Suite 590 | Elmsford; New York 10523
Tel (914) 345-3020 | eFax (914) 992-9154 | www.kkmllp.com

April 4, 2019

Via FedEx Tracking No. 7748 8452 9720
McGlinchey Stafford, PLLC

Attn: Brian S. McGrath

112 W 34th Street, Suite 1515

New York, NY 10120

Re: Wilmington v. Zebrowski; et al.
Index No.: 966/2016

Dear Mr. McGrath,

Partners

Mark R. Knuckles
Richard F. Komosinski
Jordan J. Manfro

PEYTON JOHNSON
Records Clerk

(914) 345-3020, ext.346
PeytonJ@kkmllp.com

Enclosed please find a complete listing for the indicated referenced matters. We kindly request that
you execute below indicating you have received Original Collateral File for these matters, from this

office:
Loan Number Borrower Document
f ef DAVID ZEBROWSKI, MELINDA ZEBROWSKI | Original Note
[i a ~ {D ZEBROWSKI, MELINDA ZEBROWSKI | Original Recorded Mortgage

Should you have any questions or concerns, do not hesitate to contact our office.

Please print your name and sign below.

Signed: MAWMant Srihe
Dated: al 3} 3| 194

Print Name: M. ha PAu Dl NGY

— truly yours,

Sha
Peyton Jo

Records Clerk

New Jersey Office 50 Tice Boulevard, Suite 183| Woodcliff Lake, NJ 07677 | Tel (201) 391-0370 | eFax (201) 781-6744
4§¥-00202-GLS-TW
-TWD Document 1 Filed 02/22/21 Page 127 of 13

we ORIGIN ID:NESA gi aeRO snip paTE: Q4APR1S
_ KNUCKLES, KOMOSIN KI MANEFRO, LLP ACTWGT: 4.00LB
© KNUCKLES, KOMOSINSK! & MANFRO, LLP | CAD: "3Ng0Z05/INET4100
©, 365 TAXTER ROAD,
of SUITE 580
A ELMSFORD NY 10523 BILL SENDER
NSRIANS.MCGRATH
MCGLINCHEY STAFFORD, PLLC 2
449. W 34TH STREET
SUITE1515 @
- NEW YORK NY 10120
6) 362-4051 REF
eG. DEPT.
A LOAN
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Case 1:21-cv-00202-GLS-TWD Document1 Filed 02/22/21 Page 128 of 135

EXHIBIT P
te Page 129 of 135

| WILMINGTON SAVINGS FUND SOCTETY, ‘FSB,
DOING BUSINESS: AS CHRIST

BUT: SOLELY AS ‘MOTIC ON FOR: SUMMARY

deg:

| TRUSTEE OR BCE Pooibaay

Plaintiff,

~against- ay a nsce pena:
Index-No,, 000966/2016-

DAVID, M. ZEEROWSES, of Nae AL
MALO i YEW YORK

ea rowata the) Pisintitf 0 ¢ siended, being
persons or corporations: Having ian interest in; or
| tenants or persons:in possession: ‘of, portions: of ‘the
| morigaged premises. described it the Complaint,
‘Intervenors..

fo, Plotida:
| STATEOE. Sep
| COUNTY OF. aves _ 88

Anthony D’Addona
itn , duly swom,deposes dnd states:

| Selene”), the servicer atid atiomey-in-fact for- Wilmington Savings Fund Society, FSB,

A-TRUST, NOT AFFIDAVIT IN'SUPPORT-OF /

| Doing Businessjas Christiana Trust; Not'In Its Individual Capacity But Solely as Trustee:

|| for BCAT 2025-13ATT (hereinafter “Plaintiff”, in: the above. referenced action, as

f evidenced by the:copy of the limited: power-of-attomney annexed hereto, Inthatcapacity,

Lamauthorized to-execute'this.affidavition behalf of Plaintiff.
Page 130 of 135

Case 1:21-cv-00202-G @sTWD Document 1 Filed 02/22/

] am familiar with the businéss records of Plaintiffias wellas the business records
| maintained by Selene for die’ purpose of servicing Mortgage loans on behalf of Plaintiff.
| and have personal: knowledge of the operation of, and the:circumstances surrounding '
| the :preparation, maintenance; distribution, and retrieval of records:in ‘Selene’s record |
keeping systems. These records:(which include original doctiments, data compilations,. :
electronic imaged documents, and. others) are made at or near the time by, orfrom: |
information provided by; persons with knowledge: of the: attivity and transactions: |
reflected in such records, and are ‘kept in the ordinary course. of business activity }
: coriducted xegulatly by Selene. Selene has made and maintained such records with
| respect #6 the Defendants! loan which is:the.subject of the captioned: proceeding; (the i
| “Subject Léan”). In confection with making this Affidavit; |-have acquired. personal |
knowledge of the matters'stated -heréin by examining these business records to the extent :
they relate tothe Subject Lean. :
I make this affidavit'in support of Plaintiff's application for Summary Judgment,
orderof-reference and amendmiént of the.caption of the within action. :
My review of records maintained by Seletie reveals that on Atigust 16, 2005, :
i defendants David M..Zebrowksi,and Melinda A. Zebrowski (hereinafter “Defendants”)
| dulyexecuted and delivered to SunTrust Mortgage, Inc: (“SunTrust”) a Note (hereinafter |
the “Note”) bearing said date, wherein and whereby it was covenanted and agreed that |

Defendants would repay to SunTrust the principal.sumof $312,000.00 with interest as set :

2

fyPage 131 of 135

Case 1:21-cv-00202-G |g WD Document 1 Filed 02/2,

forth inigaid Note,

To:secure repayment of the sum tepresented by: said. Note, on the same date,

Defendants duly executed and delivered t& Mortgage Electronic Registration Systems, ¢
Inc. ag nowtinee for SunTrust (hereinafter the “Morigage”) secured by the premises .
| located at 7 Stablegate Drive, Clifton Park, New York12065 which premises was,more .

|| -fully-described-in.an annex to-said’ Mortgage. The Mortgage was duly recorded in the

i Office of the Clerleof Saratoga County on August 29, 2005 ‘in Book 03919 at Page 00345:

That the Note-and Mortgage were assigned from’ SunTrust to Wells Fargo Barik,

ON A. toby Assignment of Mortgage:dated July'9, 2012 and recorded Office of the Clerk

of Saratoga County on July 12, 2012 inInstriment No:.2012025495.

That the Mortgage was assigned. from Wells Fargo Bank, N.A. to Plaintiff,

is ea Seta innate 8 et

| Wilniington Savings Fund Society, FSB, Doing. Business as Christiana Trust, .notvin,its :

|| individual capacity, btit solely as trustee for BCAT 2015-13ATT by Assignment of

i Mortgage dated September.3, 2015 and-recorded Office of the Clerk of Saratoga‘County
on September 23, 2015 in Instrument No. 2015028496.

That ‘Plaintiff was the ownér and/or holder of the Note and assignee of the
| | Motigage on the date the Summons and Complaint was filed and as such was the proper
party to bring this foreclosure action.

That the original Note was-received. by Plaintiff's custodian Wells Fargo Bank,

|| located at 751 Kasota Avenue, Suite MDC, Minneapolis, MN since’ May 14,

3
Case 1:21-cv-00202-Gke&S

-TWD Document1 Filed.02/22/ Page 132 of 135

|| 203s.

‘Tatas the servicer for Plaintiff ar the time the origivial Note was received, Selene

| Finance LP has accessiand custody to the Activity Log maintained to-track the location of |
| the origivalollateral, This Activity Log isa business record regularly relied on by Selene’ |

’ Finance: in. fhe ordinary course of business. Ag restilt of my employment with Selene: i

2 Finance LP, Tam familiar with the Activity Logand therevords related thereto including :
| Plaintil’s xécoeds, and based! on mijxeview of those fecords, itis clear that the original
: note bearing'an indorsementinto blank was maintained by Plaintiff's custodian prior to
|) conititencemient.and during the pendency of this foreclosure:action. That-a truescreen |
shat of the Activity Log is attached hereto-as Exhibit, 3

My veview of records smaintairied bySelenesreve ilé that: Demand Notices:dated

||| September 9; 2015 were sent to the Defendants via first class mail and certified mail atthe. :
mailing address of 7 Stablegate Drive, Clifion Park, NY 12065 which is the premiisesithat -
|| isthe siibjedt of this ction.

My-réview: of the xecérds ‘maintained by Selene, further revéals the following

tepardinig the sending ‘of the RPAPL § 1304 required notice (pre-foreclosure 00-Day 4
fiotiee)?

‘On January 86,2016, RPAPL.§ 1304 Notices (Pxe-Péreclosure 90- Day Notices), 5

|| typed it fourteen: (14) point font with a list of at least’five (6) HUD Housing Courseling |

| Agencies ‘that serves the-zegion in which the Defendants are believed to reside; on

4

Page 133 of 135

5/

Case 1:21-cv-00202-G|

ge WD Document 1. Filed 02/22/

| Defendants.at the-addiess of the property secured by the Mottgage, 7 Stablegate Drive,
Clifton Park, NY 1206 and to-their last know mailing address of 4J Fulham Road, Clifton .
| Paik, New York 12065, was served by depositing true copies of the same enclosed ina |
post-paid properly addressed wrapper, in~ a post office ~ official depository uinderthé |
exclusive care-and custody of the United States Postal ‘Service within the State of New. |
York, by regular-and certified mail. The certified mailing bore United States Postal
Service Trackirig Number 9814 71001170 O84 2457 75 & 93147100 vo cpdg-oasr87-
Notices-are sent:to‘any borrower(s) and mortgagor(s) at the mailing address of .
record in the:system and the property addvess if different, via first class inail and for :
| RPAPL 1304 notices, also by certified mail, through the United States Postal Service:
: That the Defendants failed to:comply with the tetms'of the Note and Mortgage by: i
: défaulting in:the monthly payment due on February 1, 2014, and-monthly thereafter. A
On. of about or about June 29, 2016, tile was: purportedly transferred from
Deferidants to. proposed intervener Robert Garrasi by Quitclaim Deed.
That by reason of the default of the Defendatity arid putouant ts the acceleration |
_ provisions of said Note and Moitgage, the Plainitiff has-clected arid does:elect that the
whole-of the principal sum secured hereby become:immediately due and payable and.
thiete i now justly: due-and payable to-the Plaintiff by vietue of euch acceleration, the |
| principal sum of $268,481.12 plus interest at the contract rate from January’, 2014. |

Plaintiff sets forth it is'a national ‘banking association acting as the trustée of a. |

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Case 1:21-cv-00202-GH&xTWD Document1 Filed 02/22/

| private truskenbjectto a pooling arid servicing apreemerit and is authorized to cofiduct |
|| Busitiesdin New York.

Taniadvised by my attorney that Defendant, Robert Garrasi has interposed an
Answer to the Complaint with counterclaims, I respectfilly xefer to the-ectompaniying
affirniation: of counsel concernitig: the legal ramifications of tie Answer and
|) Counterclaimne: !
All of the documents to which reference is wiade are-annexed to Plaintiffs motion

| papets atid incorporated herein by reference,

THEREFORE, | respectfully xequest that the within zelief requested be granted in.

BOR Eth imma add aided So wt

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UNIFORM. ALL PURPOSE-CERTIFICATE OF ACKNOWLEDGMENT.
(Outside of New York State)

‘State of.
County of,

| day oF din the year'of 2016 before'me, the uridersigned,

| personally: ‘appeared, “tetany DAddona Foréelosure Manager pers onally] knowntemeor |

‘proved to.mé.on:the basis:of: satisfactory. evidence:te be the individual(s) whose name(s). |

|| ds(are) stibseribed tothe within instrument and acknowledged tomme'that he/she/they. |
|| execiited sarne in his/her/ their capacity (ies) and that by his/ her/ their: signature(s) on
| the instrument; the individual(s), or the person upon. -behalf of which the individual(s)

acted, executed the instrument, and that: ‘sygh individual, «hade such appearance before’
| the tindersigned in Jacksonville (insert the city or other political

| subdivisionandthe state or county: or other, place'th the 2 ackr pwhedgment -was.taken).

Onttie <--

Alton Horton
TAL Cattitnissinn # FF ASZIO4
SS Extites: AUG 18, 2018

Be FF ‘ Sonor: TAAL
LOE Re hare FLORIDA NIDTARY,: ALG

